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            IN THE UNITED STATES DISTRICT COURT FOR
                THE MIDDLE DISTRICT OF ALABAMA
                       NORTHERN DIVISION

THE COLONIAL BANCGROUP,
INC., and KEVIN O’HALLORAN,

     Plaintiff,

v.                                             Case No. 2:11-cv-00746-WKW

PRICEWATERHOUSECOOPERS
LLP and CROWE HORWATH LLP,

    Defendants.
______________________________

FEDERAL DEPOSIT INSURANCE
CORPORATON AS RECEIVER
FOR COLONIAL BANK,

     Plaintiff,

v.                                             Case No. 2:12-cv-00957-WKW

PRICEWATERHOUSECOOPERS
LLP and CROWE HORWATH LLP,

     Defendants.


                  THE FDIC’S THIRD AMENDED COMPLAINT

      Plaintiff Federal Deposit Insurance Corporation, in its capacity as Receiver

of Colonial Bank of Montgomery, Alabama, and pursuant to the Court’s Uniform

Scheduling Order dated January 22, 2015 (Doc. No. 122), files this Third




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Amended Complaint against PricewaterhouseCoopers LLP and Crowe Horwath

LLP.

                                   I. INTRODUCTION

        1.   On August 14, 2009, the Alabama State Banking Department closed

Colonial Bank (“Colonial” or “the Bank”) and named the Federal Deposit

Insurance Corporation as Receiver (“FDIC”). Colonial’s closure was triggered by

the discovery that its largest mortgage banking customer, Taylor Bean & Whitaker

Mortgage Corp. (“TBW”) had committed a massive, multi-year fraud against

Colonial, resulting in financial statements that grossly misstated Colonial’s true

financial condition. The TBW fraud left a huge hole in the assets reported on

Colonial’s books and ultimately cost the Bank enormous losses.

        2.   At all relevant times during this fraud, PricewaterhouseCoopers LLP

(“PwC”) served as the Bank’s external auditor, and Crowe Horwath LLP

(“Crowe”) provided internal audit services to the Bank. This lawsuit seeks to

recover damages caused by (a) the negligent and grossly negligent conduct of PwC

and Crowe in failing to uncover the TBW fraud in the course of their audit work

and (b) the wanton conduct of PwC in characterizing certain transactions as “sales”

instead of “loans” under governing accounting guidelines when it knew the

transactions were in fact loans.




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      3.     All the time that TBW was carrying out an increasingly brazen and

costly fraud against Colonial, PwC and Crowe failed to discover that many

hundreds of millions of dollars of Bank assets did not exist, had been sold to

others, or were worthless.     Rather, as demonstrated more fully below, PwC

repeatedly issued unqualified opinions that Colonial’s financial statements were

fairly stated and effective internal controls were in place, while Crowe consistently

overlooked serious internal control issues and failed to evaluate properly controls

for the financing programs used by TBW. Missing huge holes in Colonial’s

balance sheet and serious gaps in internal control, PwC and Crowe continued to

perform auditing services for Colonial without ever detecting the TBW fraud. Had

they performed their auditing work in accordance with applicable professional

standards, they would have learned of the TBW fraud in time to prevent additional

losses suffered by Colonial at the hands of TBW.

      4.     PwC’s misconduct went well beyond the negligence that caused it and

Crowe to miss the massive fraud being perpetrated on the Bank. In early 2008, in

response to questions raised by the Office of the Comptroller of the Currency

(“OCC”), PwC was forced to re-examine the faulty conclusion reached in every

one of its previous audits of Colonial that certain transactions qualified as sales

under Statement of Financial Accounting Standards No. 140 (“FAS 140”), an

accounting standard that dictates whether a transfer of a financial asset must be



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accounted for as a sale or a loan. By improperly concluding that the loans were

sales under FAS 140, PwC enabled Colonial to circumvent the loan-to-one

borrower lending limits under federal law, which were designed to limit the dollar

amount of loans that a bank can make to a single borrower. Because Colonial

made hundreds of millions of dollars in loans to TBW, a determination by PwC

that the transactions were loans instead of sales would have meant that Colonial

was violating the legal lending limits by hundreds of millions of dollars.

      5.     In order to qualify as a sale under FAS 140, a transaction must meet

three requirements. First, the asset being transferred must be legally isolated from

the transferor, meaning that it is beyond the reach of the transferor and its creditors

(even in the event of a bankruptcy or receivership). One of the key requirements

for an asset to be legally isolated from the transferor is that the transfer occur at

fair value. In other words, the transferee must pay fair market value for the asset.

Second, there can be no constraints on the transferee’s freedom to pledge or

exchange the asset being transferred.         Third, the transferor cannot maintain

effective control over the transferred asset. In every audit from 2002 through

2007, PwC concluded that the transactions at Colonial governed by FAS 140

(involving Colonial’s purchase of mortgage loan participation interests from

various customers, including TBW) met all three tests and thus were properly

accounted for as sales. But PwC’s analysis of the FAS 140 issue in these years



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was superficial to the extent it existed at all, and the COLB transactions failed to

meet any of the FAS 140 qualifications. Moreover, the transactions were always in

substance loans: The COLB customers were all major borrowers of the Mortgage

Warehouse Lending Division, whose COLB transactions looked like their existing

loans from Colonial, the Bank and PwC repeatedly referred to the COLB

transactions as a lending product and loans, and the Bank charged interest on

COLB advances just as it would on a loan. To use PwC’s own words, COLB was

a “guise” for transactions that looked like loans. COLB’s only reason for existence

was to evade the Bank’s lending limits.

      6.    When PwC undertook its first meaningful analysis of the issue in the

spring of 2008 in response to the OCC’s questions, it made a jarring discovery:

The subject transactions were not being conducted at fair value, as required under

FAS 140, because Colonial (the purchaser) was paying less for the assets than what

they were worth. This discovery confronted PwC with two options: (a) admit that

all of its previous audits had been wrong, that Colonial’s prior years’ financials

needed to be restated, and that Colonial was in violation of the loan-to-one

borrower legal lending limits; or (b) attempt to hide its years-long mistake by

employing accounting sleight-of-hand to make it appear that the transactions were

conducted at fair value. PwC chose the latter.




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          7.      When PwC discovered that the transactions were not occurring at fair

value as required by FAS 140, it suggested to Colonial management that if, when

Colonial purchased the loan participations from the seller, it simultaneously sold a

call option on the same participations to the seller, it could assign a value to that

call option that would result in the transaction occurring at fair value. 1 PwC

described the call option as “implied” even though the written contract between the

parties explicitly stated that the seller did not have a call option. PwC further

explained that it would be necessary for this implied call option to be able to be

“net settled for cash” in order to keep it from running afoul of the third FAS 140

requirement that the seller not maintain effective control over the transferred

asset.2        PwC’s suggestion of a call option bewildered Colonial management

because for the last six years it and PwC had taken the position that there was no

call option in the transactions, and Colonial had never recorded a call option in the

Bank’s books as would be required if a call option actually existed. So the call

option was pure fiction (and PwC knew it) and thus the transactions were not

occurring at fair value, meaning the first requirement of FAS 140 was not satisfied.

          8.      Undeterred, PwC recommended that Colonial create supporting

evidence out of whole cloth so that PwC would have a basis upon which to


1
  In simple terms, a “seller’s call option” allows the seller to re-purchase the conveyed asset.
2
   The right to “cash settle” the call option allows the buyer to pay cash to the seller in lieu of
returning the conveyed asset.


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conclude that the call option existed. This manufactured “evidence” included post

hoc confirmations from the sellers of the participation interests who, because of

their reliance on Colonial as a funding source, had a strong incentive to say

whatever they were asked to say. But these confirmations were unreliable on their

face as they contained an obvious misstatement of fact. PwC obtained a similar

confirmation from a Colonial officer who, like the Bank, was relying on PwC to

help him navigate the complexities of FAS 140 to ensure that the transactions met

all three requirements.

      9.     In the end, despite all the machinations it orchestrated to allow it to

improperly conclude that the transactions were sales under FAS 140, PwC knew

that the transactions did not qualify as sales under FAS 140.        Its actions in

suggesting to Colonial an after-the-fact accounting workaround and the creation of

evidence that it knew to be false were wanton and motivated by its desire to protect

itself from the certain liability that would have accompanied the inconvenient truth

of its prior audit work.    If PwC had reported the truth about the FAS 140

transactions in the spring of 2008, Colonial would not have continued such

transactions with TBW and would have avoided over $1 billion in losses for which

PwC should be held accountable. The FDIC also seeks an award of punitive

damages for PwC’s wanton conduct.




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      10.       As described above and in greater detail below, in its role as Receiver

of Colonial, the FDIC has identified numerous acts and omissions constituting

professional malpractice, gross negligence, wantonness, breach of contract, and

negligent misrepresentation committed by PwC in connection with its year-end

audit engagements, subsequent quarterly reviews, sales accounting advice under

FAS 140, and consulting for the Bank, and acts and omissions of professional

malpractice, gross negligence, and negligent misrepresentation committed by

Crowe in connection with its outsourced internal audit and consulting services

provided to the Bank. In the absence of PwC’s and Crowe’s wrongful acts, the

TBW fraud would have been discovered many years before it was discovered, and

losses currently estimated to exceed $2.2 billion would have been avoided. And if

PwC had not lied about its mistakes in accounting for Colonial’s transactions with

TBW, the ongoing fraud would have ended in 2008. This lawsuit seeks to recover

these losses.

                        II. PARTIES, JURISDICTION AND VENUE

      11.       The FDIC is organized and existing under the laws of the United

States of America. Upon being named Receiver for Colonial Bank, the FDIC

succeeded to all rights, titles, powers, and privileges of Colonial, including, but not

limited to, Colonial’s claims against its former professional service providers such

as PwC and Crowe. 12 U.S.C. §1821(d)



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      12.    Defendant PwC is a Delaware limited liability partnership

headquartered in New York with partners located throughout the United States.

      13.    Defendant Crowe is an Indiana limited liability partnership

headquartered in Illinois with partners located throughout the United States.

      14.    This Court has subject matter jurisdiction over this suit pursuant to 12

U.S.C. §1819(b)(1) and (2) and 28 U.S.C. §§1331 and 1345. The FDIC has the

power to sue in any court of law. 12 U.S.C. §1819(a). Venue is proper in this

District under 28 U.S.C. §1391(b) because a substantial part of the events or

omissions giving rise to the claims asserted herein occurred in this District.

                                 III. BACKGROUND

      15.    Colonial, a wholly-owned subsidiary of Colonial BancGroup, Inc.

(“CBG”), was headquartered in Montgomery, Alabama, and had 347 offices

located in Alabama, Georgia, Florida, Texas, and Nevada.            The majority of

Colonial’s branches were located in Florida as was its mortgage warehouse lending

division which was based in Orlando, Florida.

A. Colonial’s Mortgage Warehouse Lending Division (MWLD)

      16.    Colonial’s MWLD provided short-term, secured financing to various

mortgage originators. The MWLD accounted for approximately 20 percent of

Colonial’s reported net income from 2005 to 2009 and, as of June 2009, the




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MWLD’s $5.2 billion in reported assets represented approximately 20 percent of

Colonial’s total assets.

      17.    The MWLD’s assets fell mainly into three categories: (1) mortgage

warehouse lines of credit, (2) mortgage loans purportedly held for sale – known as

the COLB (acronym for Colonial Bank) facility, and (3) the Assignment of Trade

(AOT) facility, which was reported as part of securities purchased under

agreements to resell. TBW was by far the largest customer of the MWLD. As of

June 2009, $3.3 billion of the MWLD’s $5.2 billion in total reported assets (63

percent) were attributable to TBW business.

      18.    The COLB facility was a loan participation arrangement under which

Colonial purportedly purchased a 99 percent participation interest in individual

mortgage loans from TBW. Under the COLB facility, Colonial’s customer was

required to have takeout investors already committed so that Colonial would

receive payment for its participation interest from the sale of the loans to secondary

market investors within a relatively short time period, typically 30 to 60 days after

closing. Without committed or pre-approved purchasers, COLB funding was not

available. If the mortgage loans did not meet certain requirements under the

controlling agreement, TBW was obligated to repurchase the loan upon request by

Colonial.




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      19.    The AOT facility, introduced in 2004, was set up to purchase

participation interests in loan pools that were to be packaged and securitized for

sale in the secondary market. TBW was the only MWLD customer allowed to use

the AOT facility. Colonial purchased a 99 percent participation interest in the loan

pools and was to be repaid when the securities backed by the loan pools were sold

to the end investor. Like COLB, an essential condition of an AOT transaction was

that the loans in a pool meet the requirements of the end investor and, if the takeout

purchase failed, TBW was required to repurchase the pool at Colonial’s request.

B. The TBW Fraud Against Colonial

      20.    As alleged more fully below, TBW chairman Lee Farkas and treasurer

Desiree Brown conspired with at least two MWLD employees, Catherine Kissick

(head of the MWLD) and Teresa Kelly (operations supervisor reporting to Kissick)

to defraud Colonial by obtaining large amounts of MWLD financing for TBW

without providing required collateral, thereby effectively stealing money from

Colonial.    The MWLD employees involved in this fraud had completely

abandoned the interests of Colonial and were acting solely for their own benefit or

the benefit of TBW.

      21.    Although Farkas’s greed to maintain his lavish lifestyle and mask the

insolvency of TBW were the inspirations for the conspiracy, it was Kissick who




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invented – and through her assistant Kelly orchestrated – many of the fraudulent

details of this conspiracy.

      22.    Farkas and Brown, along with Kissick and Kelly and other TBW

insiders, were convicted of conspiracy to commit bank fraud and other charges for

their role in the ever-increasing and evolving fraud. At no time did this fraud

benefit Colonial; rather, the fraud perpetrated was against Colonial, harmed

Colonial, was to the detriment of Colonial and resulted in Colonial lending TBW

many hundreds of millions of dollars that were secured by worthless or non-

existent loans. These actions also allowed Kissick and Kelly to keep their salaries

and bonuses and stay out of jail.

      23.    Kissick and Kelly knew that Farkas, their confederate in crime, was

not only a criminal, but a pathological liar and fraud who had been expelled from

the Fannie Mae mortgage program due to the sale of fake and fraudulent loans to

Fannie, and who was stealing money from mortgagor tax and insurance escrow

accounts.   Kissick and Kelly repeatedly caught Farkas in lies and fraudulent

transactions outside the scope of Plan B, including diverting funds intended to buy

mortgages to buy Farkas an expensive jet aircraft, funneling money to pay Farkas’s

personal expenses and the expenses of his clubs and personal associates, and the

use by Farkas of forged documents.

      Account Sweeping



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      24.   The Bank’s policies and procedures for the MWLD permitted the

Bank to approve overdrafts in a customer’s account if certain requirements were

met. These requirements included, among other things, the preparation of an

overdraft report and its submission to the appropriate person or committee

(depending on the size of the overdraft) for approval. At least as early as 2002,

Kissick and Kelly circumvented the Bank’s policies and procedures by improperly

allowing overdrafts to be paid out of the TBW master operating account with

Colonial’s MWLD by tens of millions of dollars per day. These overdrafts, as was

known to the TBW conspirators, were used to cover losses and expenses arising in

TBW’s business and to fund defalcations and benefits for Farkas. To conceal these

overdrafts, and to prevent their appearance on the Bank’s overdraft reports, Kissick

and Kelly, near the close of business each day, transferred or “swept” funds into

the TBW master account to cover the overdrafts.         This is sometimes called

“account sweeping.” The source of the transferred funds was a restricted TBW

account containing the proceeds of the sales of Colonial’s collateral, which was

designated to be applied to TBW’s indebtedness to Colonial. The effect of these

transfers was the temporary deposit of the Bank’s collateral into TBW’s master

operating account, and the purpose of the transfers was to conceal any overdraft by

preventing the overdraft from appearing on an overdraft report. The overdraft

report was generated based on the status of the accounts at the end of each day, and



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due to the fraud, the report did not reflect the TBW overdrafts. After the reports

were processed, Kissick and Kelly would transfer Colonial’s funds back into the

investor funding account and, as new overdrafts appeared, start the process all over

again. The overdrafts grew to over $120 million by December 2003, and Kissick

and Kelly diverted a corresponding amount of the Bank’s collateral proceeds to

conceal the overdrafts.

      COLB Plan B

      25.    In December 2003 the conspirators implemented “Plan B,” which was

conceived as a way to steal and convert the Bank’s assets through the corruption of

the Bank’s COLB facility with TBW. Under Plan B, TBW “sold” mortgage loans

to Colonial and used the proceeds to finance its operations rather than to fund

mortgages. However, the loans that Colonial “purchased” under Plan B either did

not exist; had been sold or pledged to other banks or investors; were foreclosed,

paid off, or charged off loans; or were otherwise unmarketable. Thus, Plan B loans

provided worthless collateral to Colonial in exchange for money advanced by the

Bank because the loans had little or no value to Colonial. Through this scheme, by

mid-2005 Kissick and Kelly had helped TBW steal $250 million from Colonial.

      AOT Plan B

      26.    As the balance of the COLB Plan B loans grew, it became

increasingly difficult for the conspirators to avoid detection by Colonial’s loan



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monitoring software which tracked details of COLB loans individually. But, per

Kissick’s instructions, the software did not track loans in pools. In or around

December 2004 the conspirators set in motion a new scheme designed to transfer

the Plan B deficit (or “hole”) from COLB to the AOT facility. Under the AOT

version of Plan B, the conspirators arranged for TBW to sell pools containing fake

or greatly impaired loans to Colonial in return for additional funding from the

MWLD. As in COLB, the AOT Plan B loan pools were basically worthless to

Colonial because they consisted of nothing more than bogus data purporting to

capture the value of real loans or data for loans that TBW had previously sold to

other investors, or loans having little or no value.        As a result, there were

nonexistent loans in the Plan B AOT pools purchased by Colonial, or the loans had

been sold or pledged to other banks or investors; were foreclosed, paid off, or

charged off loans; or were otherwise unmarketable. The amount of Plan B pools

held by the MWLD at the end of 2007 is estimated to be at least $561 million.

      27.    In order to conceal the AOT Plan B fraud, Kissick and Kelly falsified

the Bank’s records and placed fictitious loans and loan pools on Colonial’s books

in recycling round-trip transactions up until the eve of Colonial’s failure.

      The Continuation of the Fraud and Double and Triple Pledging

      28.    Beginning in 2008, and particularly in 2009, TBW and its subsidiary,

with the assistance of others, stole almost $1 billion in loans from Colonial by



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representing that TBW or its subsidiary would pay Colonial for the loans, but

instead pledging or selling the loans to third parties without paying Colonial as

promised.

      a.     Every phase of the fraud -- sweeping, Plan B COLB, Plan B AOT and

the double and triple pledging -- had the same goals: Cover TBW’s losses, fund

Farkas’s lavish lifestyle, prevent the fraud from being discovered, and avoid the

consequences that would occur once it was discovered.

      b.     The last phase of the fraud, the double and triple pledging phase, was

conducted through the Colonial COLB facility, under which Colonial purportedly

purchased 99% participation interests in mortgage loans which TBW arranged to

sell to secondary market investors. In the double and triple pledging phase, TBW

stole hundreds of millions of dollars from Colonial to fund TBW’s operations by

converting the sales proceeds for its own use without paying Colonial. The Plan B

phase of the fraud, described above, in which Colonial provided funds to TBW to

purchase loans under the COLB facility or loan pools under the AOT facility that

either did not exist, had been sold to others, or were valueless in any event, lasted

from late 2003 or early 2004 until the closure of the Bank, the period when PwC

and Crowe were conducting some of the audits at issue here. If the auditors had

fulfilled their professional duties, they would have detected and reported the Plan

B fraud to Colonial’s management and Board, which would have resulted in the



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termination of the Bank’s relationship with Farkas, TBW and its affiliates, the

termination of the COLB facility where the double and triple pledging losses were

incurred, and the immediate termination of Kissick and Kelly. The failure of the

Bank’s auditors to detect the fraud foreseeably resulted in the continuation of the

fraud. In other words, the audit failures of PwC and Crowe as described herein

produced the losses described below in a natural and continuous sequence,

unbroken by any new intervening, superseding or independent cause, and without

which the injury would not have occurred.

      c.    Moreover, PwC’s negligent approval and improper application of

sales accounting treatment also caused the losses described below because the sales

accounting treatment evaded limitations on loans to one borrower under applicable

banking regulations.   Under proper accounting treatment, the funds advanced

under the COLB line would have been limited so drastically that the Bank could

not have advanced funds on the loans that were double and triple pledged by TBW

in 2008 and 2009. This was a foreseeable result of improper sales accounting

treatment because, as PwC knew, the use of sales accounting treatment

circumvented the Bank’s lending limits and allowed far greater advances to TBW.

      d.    In or around July 2008, Kissick stopped making Plan B advances to

TBW, but continued massive efforts to conceal the Plan B phase of the fraud from

Colonial’s management and directors. In furtherance of the fraud, Farkas, Brown,



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Kissick, Kelly and others carried out sham transactions, which they called

“recycling,” in which unmarketable Plan B AOT pools were supposedly sold by

Colonial and TBW to TBW’s affiliate, Ocala Funding (“Ocala”), and Ocala, in

turn, supposedly sold to TBW and Colonial “new” Plan B AOT pools that likewise

had no value to Colonial. These sham transactions included the wiring of hundreds

of millions of dollars of Colonial funds to Ocala, and Ocala wiring approximately

the same amount of funds back to Colonial. The purpose of the “recycling”

transactions was to conceal the fraud by avoiding the scrutiny that would result if

AOT pools remained on Colonial’s books too long and by falsely making it appear

that the fake AOT pools had been sold and replaced by new pools.             These

recyclings continued until the conspirators were prevented by the FBI and other

law enforcement authorities from continuing the fraud in or around August 2009.

      e.    After Kissick informed Farkas in or around July 2008 that the Plan B

advances would cease, Kelly grew suspicious of where Farkas was getting funds

for TBW now that Kissick had stopped the Plan B advances. This concern was

logical given that TBW had been unable to pay its operating expenses for the last

six years without stealing money from Colonial with the aid of Kissick, Kelly and

others. Following discussions with TBW’s treasurer (Brown), Kelly believed that

Farkas was diverting Colonial’s sales proceeds to keep TBW in business and pay

its bills. Kelly says she reported her concerns to Kissick. In any event, Kissick



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and Kelly continued to allow, and in the case of Kissick to approve, Colonial’s

COLB advances to TBW, through which Colonial purchased 99% participations in

loans from TBW that were later sold to Ocala, with LaSalle Bank (“LaSalle”)

serving as the custodian. Numerous COLB transactions involving TBW and Ocala

– the same participants involved in the fraudulent AOT recycling transactions –

eventually became double and triple pledged transactions, and alone (not including

additional nine-figure Plan B losses after 2002 that also were caused by TBW’s

frauds against Colonial) resulted in an estimated $898.9 million in losses to the

Bank and the FDIC. Specifically, after Colonial purchased its 99% interest in the

COLB loans from TBW, the loans were shipped to Colonial, and then from

Colonial to LaSalle, as custodial agent in connection with purchases by Ocala, with

funds provided by Freddie Mac, the end investor and ultimate owner of the loans.

Farkas, used the transactions as a way to steal money from Colonial, just as he had

done ever since the fraud began in 2002, this time by directing LaSalle to transfer

the sales proceeds from Colonial’s loans to TBW or to pay TBW’s debts rather

than repay Colonial for its 99% interest. Kelly and Kissick knew of and condoned

the double and triple pledging fraud. Indeed, when an MWLD employee brought

to Kissick’s attention concerns about TBW’s actions in regards to the sales

proceeds, Kissick prevented further investigation into the matter.




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      f.    The double and triple pledging phase not only involved stealing

Colonial’s sales proceeds, but also defrauded various other lenders by pledging

Colonial’s interest in COLB loans to them to secure additional funds. The double

and triple pledging fraud constitutes a theft of Colonial’s sales proceeds and is

analogous to the initial “sweeping” phase of the fraud, in which Colonial’s sales

proceeds were swept out of Colonial’s collateral funding account into the TBW

master operating account to cover TBW’s overdrafts incurred to pay its operating

expenses.

      g.    In 2009, Colonial shipped thousands of COLB loans to TBW and/or

Ocala for which it had not been paid in the time required under various agreements

between TBW and Colonial. At one point, Cherie Fite (“Fite”), an employee in

Colonial’s MWLD, sent TBW’s Brown an email requesting that certain unpaid

loans be returned to Colonial, as was Colonial’s right under such agreements.

Kissick was informed about Fite’s request and Kissick told Fite in an email that

she did not want the loans shipped back at that time. Under the circumstances and

based on the significant amounts that TBW then owed Colonial, pursuing the issue

could potentially result in exposure of the longstanding, ongoing fraud, although

Kissick told Fite that the shipped but unpaid loans that Fite had discovered would

be paid that week. Kissick told Fite that the reason Colonial had not been timely

paid was because of funding delays. Fite responded that she was not aware of



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funding delays at the time of this incident. Colonial still had not received payment

by the following week. Then, on August 4, 2009, after having been interrogated

by the FBI in an interview in which she later admitted she was not honest, Kissick

emailed TBW, asking that the loans be returned. To the end, as she had done

throughout, Kissick facilitated and assisted acts, or was willfully blind to acts, by

which Farkas and TBW defrauded Colonial and took many millions of dollars of

Colonial’s money – funds that Colonial would never recover. As shown, the

double and triple pledging fraud was merely the next phase in a continuum of

evolving fraud TBW committed against the Bank and would have been prevented

had PwC and Crowe properly performed their audits in compliance with applicable

professional standards. The losses suffered by the Bank and the FDIC as a result

of the long-term fraud, including but not limited to the theft of COLB loan sales

proceeds described above, are at least $2.2 billion.

C. PwC’s Audit of Colonial – Failure to Uncover Fraud

      29.    At all times during TBW’s fraud against Colonial, PwC served as

Colonial’s external, independent auditor under engagement agreements with

Colonial’s parent company, CBG. Pursuant to the engagement letters for its audits,

PwC was obligated to (a) perform its audits in accordance with standards

established by the Public Company Accounting Oversight Board (“PCAOB”), (b)

design the audits to obtain reasonable assurance of detecting errors, fraud, or



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illegality that would have a material impact on financial statement amounts, and (c)

obtain reasonable assurance that effective internal control over financial reporting

was maintained in all material respects, which required PwC to obtain an

understanding of internal controls over financial reporting, assess the risk that a

material weakness existed, and test and evaluate the design and effectiveness of

internal controls over financial reporting.     CBG was a single-bank holding

company with Colonial as its only asset of any significance. Accordingly, an audit

of CBG consisted of an audit of Colonial. Upon information and belief, PwC

knew that its audits of CBG’s consolidated financial statements served as the audit

required by 12 U.S.C. § 1831m. At the conclusion of each audit, PwC reported

that PwC had performed its audit work in accordance with applicable professional

standards and that CBG’s financial statements were fairly stated in all material

respects in accordance with Generally Accepted Accounting Principles (“GAAP”),

and that effective internal controls over CBG’s financial reporting were in place.

      30.    In fact, PwC’s audits of Colonial’s financial statements for the years

ending 2002-2008 fell short of governing professional standards in several

respects. If PwC had performed its audit work properly, it would have discovered

the TBW fraud and Colonial would have avoided the damages the FDIC seeks

against PwC in this complaint.

      1. Applicable Auditing Standards



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      31.   PwC’s 2002 to 2008 audits of the consolidated financial statements of

CBG and Colonial and the effectiveness of CBG’s internal controls over financial

reporting were “integrated audits.” Under PCAOB requirements, integrated audits

by a PCAOB-registered public accounting firm such as PwC must be conducted in

accordance with PCAOB Auditing Standards. These standards adopted Generally

Accepted Auditing Standards (“GAAS”) as they existed on April 16, 2003, subject

to amendment or supplementation by the PCAOB. (For ease of reference, GAAS

standards that were adopted by the PCAOB will be referred to as “GAAS” and

cited as “AU.” Standards enacted by the PCAOB will be referred to as “AS.”).

There are ten GAAS standards applicable to PwC’s audit of Colonial, the most

important of which for purposes of this case are:

      ▪ The auditor must adequately plan the work and must properly supervise
        any assistants.

      ▪ The auditor must obtain a sufficient understanding of the entity being
        audited and its environment, including its internal controls, to assess the
        risk of material misstatement of the financial statements whether due to
        error or fraud, and to design the nature, timing, and extent of further audit
        procedures.

      ▪ The auditor must obtain sufficient competent evidential matter to afford a
        reasonable basis for an opinion regarding the financial statements under
        audit.

      32.   GAAS and AS also require the auditor to understand (i) the audit

client, customer relationships, industry conditions, economic conditions, regulatory

environment, relevant accounting pronouncements, and other external factors; and

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(ii) the internal controls that the audit client has in place to determine whether they

are designed properly and operate effectively.

      33.    To comply with GAAS, the auditor needs to identify risks of material

misstatement at appropriate levels of detail, and design appropriate auditing

procedures in light of such risks. Due professional care requires the auditor to

exercise professional skepticism – i.e., a questioning mind and a critical

assessment of audit evidence based on the assumption that management is neither

dishonest nor honest beyond doubt.

      34.    Under GAAS and AS requirements, which audit procedures the

auditor selects generally depend on the risk of material misstatement. The higher

the auditor’s assessment of risk, the more reliable and relevant the audit evidence

obtained from tests of the effectiveness of internal controls and substantive audit

procedures must be.     The auditor must plan and perform the audit to obtain

sufficient competent evidential matter to afford a reasonable basis for an opinion

regarding the financial statements and to reduce to a low level the risk that the

auditor will fail to detect a material misstatement. If the auditor is unable to obtain

sufficient competent evidential matter, the auditor should express a qualified

opinion or a disclaimer of opinion.

      2. PwC’s Pattern of Professional Negligence




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      35.    In its audits for the years ending 2002 through 2008, PwC repeatedly

violated professional standards. PwC’s work demonstrated an appalling lack of

planning, supervision, professional skepticism and due care.          PwC and its

inexperienced auditors, who had little or no prior history auditing a mortgage

warehouse lender, blindly accepted the assertions of Kissick as a substitute for

competent evidential matter, failed to complete audit steps required by professional

standards and its own audit programs, and failed to understand and properly

characterize the MWLD transactions with TBW. PwC failed to review COLB loan

files, failed to obtain competent evidential matter to confirm the existence of

COLB assets, and failed to obtain competent evidential matter to support the

existence of investor commitments. PwC repeatedly failed to properly identify and

test internal controls for AOT, failed to perform AOT walkthroughs, failed to

review AOT loan files or AOT loan level detail, failed to obtain competent

evidential matter to support the existence of the investor commitments, and failed

to obtain sufficient competent evidential matter to support AOT transactions and

cash receipts or to establish the existence of AOT assets. PwC failed to exercise

professional skepticism and obtain sufficient competent evidential matter to rule

out fraud, despite red flags of fraud, including, but not limited to, the termination

of TBW from the Fannie Mae program for selling fraudulent loans to Fannie Mae,

aged receivables and shipped not paid loans on COLB, and large overdrafts in



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TBW’s operating account. PwC failed to design and perform the audit in a manner

that reasonably addressed the risk of loan originators, such as TBW, committing

fraud, despite identifying originator fraud as a serious risk in its workpapers.

      36.    PwC understood that one of the biggest risks that a mortgage

warehouse lender faces is the risk of fraud by its mortgage originator customers.

Where a customer is accused of wrongdoing and is having financial difficulties, the

high operational risk that already exists becomes that much greater. In 2002, PwC

learned of the termination of TBW from the Fannie Mae program. The termination

took place in the spring of 2002 and was financially devastating to TBW.           The

commencement of the sweeping phase of the TBW fraud coincided with the

Fannie Mae termination.      PwC asked Kissick about the TBW termination by

Fannie Mae, which Kissick described as being the result of Farkas having to buy

loans back from General Motors Acceptance Corporation, and then having

mistakenly sold the loans to Fannie Mae. PwC did nothing to verify anything

Kissick had said. PwC did nothing to determine whether TBW had defrauded

Fannie Mae, whether fraud was the cause of TBW’s termination by Fannie Mae, or

whether Kissick was lying. If PwC had acted with due care, it would have learned

that the answer to all three of these questions was “yes.”

      3. PwC's Failure To Follow Required Auditing Standards

             a.     Failure to Understand Colonial’s MWLD and Associated Risks



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      37.    PwC failed to obtain a sufficient understanding of Colonial’s MWLD

operations to plan the audits properly, make an accurate assessment of audit risks,

and design effective audit procedures.         PwC also relied on tests purportedly

performed by others to confirm the effectiveness of internal controls, but it failed

to recognize that no such tests had in fact been conducted. Finally, in a number of

specific areas, PwC’s execution of planned audit procedures was carried out so

carelessly that the audit evidence did not provide a valid basis for its conclusions

and its unqualified audit opinion.

      38.    PwC violated GAAS during the audit planning process by not giving

adequate consideration to significant audit issues and risks stemming from recent

adverse developments in U.S. mortgage markets, the very type of transactions

underlying MWLD financing for TBW, and the concentration of Colonial’s

business in TBW. Deteriorating conditions in the secondary market during 2007

created a risk that Colonial’s holding period for loans and loan pools held in the

COLB and AOT facilities might extend beyond the expiration date of the takeout

investor’s commitment or that investors might lose their appetite for these

products. The significant concentration of Colonial’s MWLD business with TBW

gave rise to additional risks associated with that particular customer.

      39.    Throughout 2007 home prices were falling in regions of the country

that had recently witnessed major booms, mortgage loan originators were suffering



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from eroding markets, homeowners with subprime and other high-rate mortgages

were defaulting in increasing numbers and, by the summer of 2007, many markets

for mortgage-backed securities (“MBS”), particularly securities backed by

residential mortgage loans, had all but frozen.

      40.    PwC knew or should have known that TBW’s business model

depended on its ability to sell mortgage loans to the secondary market, and that the

deterioration of that market likely would create financial pressures for TBW and

give it a powerful incentive to exploit its relationship with Colonial’s MWLD.

Operating in this environment significantly increased the risk that Colonial’s

financial statements could be materially misstated due to fraud.

      41.    These circumstances were serious fraud risk factors that significantly

increased Colonial’s risk of loss from MWLD financing and risk of a material

misstatement of MWLD assets. Yet PwC’s audit design was devoid of appropriate

procedures to address these risks.

             b.    Failure to Properly Evaluate Internal Controls

      42.    For public companies like CBG, Section 404 of the Sarbanes-Oxley

Act of 2002 (“SOX 404”) makes corporate management responsible for assessing

the effectiveness of internal controls over financial reporting.    As part of its

integrated audit, AS No. 5 required PwC to render an opinion on the effectiveness

of these internal controls. Moreover, PwC was required to test the effectiveness of



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Colonial’s internal controls if PwC intended to rely on such controls in order to

limit the substantive audit procedures that it performed.

       43.     CBG retained Crowe to evaluate internal controls in accordance with

management’s obligations under SOX 404. In connection with its integrated audit

pursuant to AS No. 5, PwC relied on Crowe’s SOX 404 work for purposes of

identifying key controls. PwC knew that walkthroughs would be necessary for

significant processes affecting significant accounts, but intended to rely on

walkthroughs performed by Crowe for lower risk areas.3 PwC anticipated that

Crowe would submit its testing plan to PwC for review. Upon ensuring that

Crowe’s testing plan satisfied applicable audit standards, PwC would check the

quality of Crowe’s testing through independent verification.

       44.     PwC knew that Colonial’s Treasury and Securities Purchased Under

Agreements to Resell (which included $1.5 billion in AOT financing for TBW at

December 31, 2007) was a “Significant Process” for which it would test controls.

During the actual audit, however, PwC excluded AOT entirely from the key

controls that it tested despite AOT’s significant account balance and distinct class

of transactions (all with TBW) that called for transaction-specific controls. PwC

did not perform any AOT walkthroughs. Upon information and belief, PwC


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   A walkthrough consists of following a transaction from origination through the company's
processes, including information systems, until it is reflected in the company's financial records,
using the same documents and information technology that company personnel use.


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skipped this crucial step because key controls relating to AOTs were not properly

identified by Crowe, and/or PwC did not properly assess the inherent risks

regarding the existence and validity of AOT assets. PwC instead decided that it

would rely on Crowe to perform all AOT walkthroughs.

         45.   PwC was required to review Crowe’s work product, and PwC did so.

Crowe, however, never identified or performed any evaluation of internal controls

specifically relating to the AOT facility, and there was no documentation

suggesting otherwise.     Nonetheless, PwC concluded that internal controls for

Colonial’s Treasury (including AOT) operation were effective and could be relied

upon by PwC to reduce its substantive audit procedures for the MWLD’s AOT

facility. PwC reached this conclusion in the absence of any evidence that Crowe

(or anyone else) had tested any internal controls for AOT – a clear violation of AS

No. 5.

         46.   Had PwC properly performed AS No. 5 audit procedures as it was

required to do, it would certainly have discovered that Crowe never performed any

evaluation of internal controls relating to the AOT facility, precluding reliance on

the effectiveness of such controls and triggering a need for additional audit

procedures, including confirmation of AOT trades directly with end investors.

Given the high percentage of fraudulent Plan B trades in the AOT facility

(estimated at 40 percent of the total value of outstanding trades), confirmation with



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AOT end investors would have uncovered the TBW fraud, leading to a cessation of

lending to TBW which, in turn, would have avoided the losses Colonial incurred

thereafter.

              c.    Failure to Audit Colonial’s AOT Account Balance

      47.     The main substantive audit procedure PwC performed to test the $1.5

billion AOT balance at December 31, 2007, was to obtain a written confirmation

from TBW for the entire balance. This procedure totally disregarded potential

fraud risk and based PwC’s unqualified audit opinion on unreliable evidence.

Professional standards required the application of more robust audit procedures for

the AOT facility, such as confirming with end investors the validity of takeout

commitments or subsequent-events testing to trace funds coming from end

investors after year-end and comparing such cash receipts to the underlying

settlement documents and cash receipts records. Instead, PwC effectively treated

the AOT facility as a loan to TBW and simply confirmed the entire $1.5 billion

outstanding balance with TBW alone.

      48.     PwC planned to count and verify the AOT collateral, but as the audit

was conducted PwC failed to do this because of a representation from management

that CBG had incurred no losses in the MWLD. On its face, this justification for

abandoning a planned audit procedure makes no sense.            Furthermore, this

representation of no losses was highly suspect given the significant number of



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mortgage loans financed by the MWLD, the well-known decline in credit markets

during 2007, and evidence obtained by PwC that large numbers of COLB loans

were defective and increasingly could not be sold in the secondary market. Under

these circumstances the suggestion of no loss should have been seen as a potential

indication of fraud. PwC’s failure to verify AOT collateral violated AU Sections

316 and 326.

      49.   PwC breached its duty under GAAS to exercise appropriate

professional skepticism by failing to question how Colonial, particularly during an

unfolding economic crisis in credit markets, had funded billions of dollars of

mortgages over the years without ever experiencing a loss. Had PwC attempted to

count collateral to verify its existence, such as by examining documents underlying

AOT trades, it would have discovered fraudulent AOT transactions given that an

estimated 40 percent of them had no collateral. This was yet another missed

opportunity by PwC to put itself in a position to detect the TBW fraud by

following required audit procedures. This failure was a violation of AU Sections

230, 316, and 326.

      50.   PwC determined that reconciliations of Colonial’s Treasury accounts

were a key control, and thus PwC selected for testing a general ledger account

within which AOT was a significant sub-account. PwC ultimately concluded that

key controls relating to this reconciliation process were effective. But PwC had no



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supporting documentation to rely upon to reconcile general ledger account

balances.     Proper supporting documentation typically involves a detailed trial

balance listing all of the individual items (in this case, all AOT pools) that make up

the total balance of the account. PwC simply relied on a report with a single line

entry for the entire $1.5 billion TBW AOT account balance. Given that this report

lacked any detail about the individual loan pools (or trades) purportedly

comprising the total AOT balance, the documentation that PwC relied on provided

neither reliable nor reasonable support for its unqualified opinion in violation of

AU Section 326.

      51.     If PwC had obtained detailed support for Colonial’s AOT trades, it is

doubtful that any reliable or reasonable evidence could have been provided,

because an estimated 40 percent of AOT trades were bogus.             Insisting upon

appropriate detail to conduct these reconciliations is yet another audit procedure

that, had PwC used it, would have led PwC to discover the TBW fraud during its

2007 audit.

      52.     PwC also planned to select mortgage loans from a detailed list of all

loans held for sale or investment and test them against appropriate supporting

documentation, such as wire transfer documents or mortgage notes. Instead of

carrying out this procedure, PwC relied on a report created by Kissick purporting

to list 107 AOT trades totaling over $584 million as of year-end 2007 that TBW



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supposedly repaid through re-sale or securitization of the loans during January

2008. PwC failed to select any items from this report to confirm with supporting

documentation (such as Trade Assignment Agreements, payment records, or

confirmations from end investors). Nor did PwC trace any of the individual trades

that Kissick listed to an entire listing of all trades making up the $1.5 billion AOT

balance at year-end 2007.

      53.    PwC also planned to select from details making up a financial

statement entry and then obtain appropriate and reliable audit evidence to support

the reasonableness of the test selection.     PwC ignored both of these planned

procedures, causing it to rely on insufficient audit evidence to support its

unqualified opinion in violation of AU Section 326. Had PwC attempted to verify

the securitization and sale of AOT pools, it would have been unable to do so given

that fake pools made up an estimated 40 percent or more of the total AOT balance,

resulting in discovery of the TBW fraud.

             d.    Failure to Investigate Material Confirmation Discrepancy

      54.    In response to an audit confirmation request regarding TBW’s

mortgage warehouse line, TBW reported that its total mortgage warehouse line

was $105.7 million – almost $20 million less than the $125.3 million total on




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Colonial’s books.4 Such a material difference cannot be accepted by the auditor

without further analysis but, inexplicably, PwC completely missed this material

difference and concluded that TBW’s confirmation agreed to CBG’s general

ledger. In violation of applicable professional standards, PwC failed to investigate

this audit exception, failed to increase its assessment of risk, and failed to

implement additional substantive audit procedures in light of the heightened risk.

Follow-up procedures would have revealed that the TBW balance could not be

confirmed.

       55.    PwC’s audit confirmation procedures also were grossly deficient in

light of the potential fraud risks relating to TBW.            (AU Section 316).        The

confirmation evidence that PwC obtained was unreliable. (AU Section 326). PwC

violated GAAS with respect to confirmation control (AU Section 330), proficiency

of its auditors (AU Section 210), lack of supervision by senior auditors (AU

Section 311), and the failure to exercise due professional care and appropriate

professional skepticism. (AU Section 230).

              e.     Failure to Investigate Stale TBW Loans in COLB Account

       56.    A year-end 2007 aging analysis of COLB loans under the COLB

agreements in effect at the time showed that loans totaling $166 million had

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     This was an additional line of credit for financing that the MWLD extended to TBW.
TBW’s confirmation also identified the “CB Portion” of the total line at nearly $6.6 million,
compared with Colonial’s records that showed the balance at $19.5 million, another material
difference.


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origination dates before July 1, 2007, meaning they had been on Colonial’s books

for more than six months. (PwC also had access to Crowe’s workpapers which

revealed that (1) in April 2006, the Bank had $272.7 million of outstanding TBW

loans under the COLB facility that were more than 120 days old when the loans

should have been paid for or repurchased within 60 days and (2) the Bank was not

sending violation notices for not being paid timely for loans that the Bank had sold

and shipped. See Paragraphs 73-74, infra.) Kissick admitted that virtually all

(99.6 percent) of the $166 million in loans had been originated by TBW. Because

COLB loans should have been sold within a short period (30-60 days), this was a

clear sign of a serious potential problem. Kissick told PwC that these loans had

not been sold due to documentation exceptions that disqualified them for sale to

the secondary market. PwC never questioned why large numbers of aged and

defective mortgage loans from TBW were being held for sale by Colonial in the

COLB facility rather than being put back to TBW in accordance with the Loan

Participation and Sale Agreement requiring TBW to repurchase such loans. PwC

justified its failure to investigate this serious potential problem on the grounds that

it perceived no valuation issues specific to the loans. This “justification” strains

credulity because if these loans could not be sold due to documentation

deficiencies as Kissick had represented, simple logic suggests that their valuation

was in question if not impaired. A reasonable auditor with appropriate skepticism



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would not have let the matter drop, yet PwC did in violation of AU Sections 210,

230, and 316.

      57.    With very large numbers of loans acknowledged to be defective, PwC

should have suspected a serious breakdown in internal controls designed to prevent

loans from being warehoused indefinitely on the COLB facility.           Accepting

management’s explanation that no valuation issues arose from such aged loans in a

facility designed to keep loans for only 30-60 days is demonstrative of PwC’s

failure to exercise due professional care in the performance of the audit and obtain

sufficient competent evidential matter in violation of AU Sections 230 and 326. At

the very least, PwC should have made a fair-value determination for a

representative sample of these defective loans. Had it done so, it would have

discovered substantial valuation issues that would have necessitated a more

extensive investigation of the MWLD’s dealings with TBW, leading to the

discovery of the TBW fraud.

      58.    For each audit year, PwC issued its unqualified audit opinion,

misrepresenting to Colonial and CBG that the consolidated financial statements

were presented fairly in all material respects.

D. PwC’s Audit of Colonial – Failures in Relation to Sales Accounting

      59.    Lending under TBW’s mortgage warehouse line was subject to legal

lending limits, meaning that there was a limit to how much money Colonial could



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lend to TBW. The only reason that TBW was able to obtain additional funding

under the COLB facility was because advances under this facility were treated as

“sales” for accounting purposes pursuant to FAS 140. An advance under the

COLB facility could be treated as a sale so long as all of the following three

conditions were met:

              (1)    The transferred assets have been isolated from the transferor.

Isolation means that the transferred assets are beyond the reach of the transferor

and its creditors, even in bankruptcy or other receivership.

              (2)    The transferee has the unconstrained right to pledge or

exchange the transferred asset.

              (3)    The transferor does not maintain effective control over the

transaction through (a) an agreement that both entitles and obligates the transferor

to repurchase or redeem them before their maturity; or (b) the ability to unilaterally

cause the holder to return specific assets, other than through a type of transaction

not at issue in this case.

       60.    From the inception of the COLB product in 2002 through 2009, PwC

worked alongside Kissick advocating the application of sales accounting even as

PwC itself understood that the advances made under COLB were in substance

nothing more that short term loans. Notably, in 2002 and 2003, Kissick used the

COLB facility as a vehicle to hide the growing TBW overdrafts by making



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advances to allegedly “purchase” interests in individual loans that had already been

sold or pledged to other investors and that provided no collateral to Colonial.

Application of sales accounting enabled TBW to circumvent the legal lending

limits on its warehouse facility and also served to enable and expand the fraud. In

other words, PwC played a major role in expanding Colonial’s relationship with

TBW and the risk of loss associated with TBW’s fraud. PwC, however, never

expanded its audit procedures to address these risks.

      a.     PwC Repeatedly Failed to Obtain Adequate Audit Evidence.

      61. In November 2002, PwC represented to CBG that the Bank’s COLB

transactions qualified for sales accounting under FAS 140. The November 14,

2002 letter from PwC to Sheila Moody, Chief Accounting Officer of CBG, stated:

“At your request, I have reviewed the provisions of the attached Loan Participation

Sale Agreement (the Agreement) and consulted with PwC Risk and Quality group.

Based on those revisions, the Agreement now qualifies for sale treatment under the

guidelines of FAS 140. As a result, it is appropriate to classify in Colonial’s

balance sheet these purchased participation interests as Loans Held For Sale, to the

extent the underlying mortgage loans have been committed for sale to third party

investors. Without the intent and commitment to sell to third party investors,

Colonial’s participation interest should be classified as Loans (to the individual

obligors).” Despite PwC’s statement that COLB would only qualify for FAS 140



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sales accounting if investor commitments were in place for each underlying

mortgage loan, PwC repeatedly failed to take any audit steps to verify the existence

of the investor commitments (and therefore the validity of FAS 140 sales

accounting).

      62.      PwC repeatedly misapplied FAS 140 sales accounting to the TBW

COLB transactions and facilitated the violation of the lending limits by Colonial

on its extensions of credit to TBW. PwC knew the Bank never recovered more

than its principal advance plus interest on the COLB transactions (even when the

loans were sold by TBW at a profit) which further demonstrated that the

transactions were loans rather than sales. Colonial did not pay fair value (i.e., it

paid less for its participation interest than it was worth) for its supposed

participation interest as required for the transaction to be accounted for as a sale

instead of a loan. PwC thus knew the COLB transactions were loans and referred

to them as “loans” and COLB as “a lending product” in its workpapers. When

referring to the Bank’s supposed purchase of participations in loans as part of the

COLB transactions, PwC usually put the word “buy” in quotes, thus demonstrating

its reckless willingness to circumvent federal loan-to-one-borrower limits, which

were designed to protect Colonial from the very thing that happened in this case,

where extensions of credit by the Bank to TBW were approximately 500% of the

Bank’s lending limits. PwC repeatedly ignored aspects of COLB that disqualified



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it for sales accounting treatment, including the lack of fair value paid by Colonial,

the constraint on the Bank’s rights created by the investor commitments and the

Bank’s agreement to provide the loan documents to the investor upon the direction

of TBW. Moreover, PwC knew for years that Colonial lacked the required true sale

opinion, and even when the Bank finally obtained a true sale opinion, the opinion

simply assumed fair value and that the transactions qualified for FAS 140

treatment and thus was based on circular unsupported assumptions that rendered

the opinion meaningless.

      b.     PwC Manufactures Audit Evidence to Support its Faulty Conclusion.

      63.    In April 2008, after PwC had issued multiple clean audit opinions

approving sales accounting treatment for the Bank’s COLB transactions, the OCC

challenged PwC’s conclusion that sales accounting for COLB was proper.

According to PwC’s lead auditor: “The examiners expressed their expectation that

PWC would respond in writing to those matters addressed to us and that such

documentation should include sufficient detail to support our conclusions with

indications as to whether such detail was part of our audit procedures at 12/31/07

or a result of work done since.” The OCC’s challenge to PwC’s sales accounting

conclusions caused major alarm within PwC. PwC immediately realized that if

sales accounting was not proper, CBG’s financial statements for at least the

previous three years would have to be restated, that CBG’s proposed effort to raise



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$600 million in new capital in the public markets would be futile, and that

Colonial’s credit extensions to TBW would be billions of dollars in excess of the

Bank’s lending limits. PwC recognized that it was exposed to billions of dollars in

liability for its past negligent advice and immediately assembled a consultation

group of more than a dozen people within PwC, including risk management, sales

accounting, and regulatory experts, as well as high level PwC officials, to address

whether COLB qualified for sales accounting treatment under FAS 140. One of

the leaders of the PwC consulting group was Frank Gaetano, from PwC’s New

York City office.

      64.   Upon reviewing the available materials on sales accounting within the

possession of PwC and Colonial, Gaetano concluded that PwC did not have

sufficient support for its multiple prior opinions that COLB qualified for sales

accounting. Gaetano also determined that based on the existing evidence, the

COLB transactions did not comply with FAS 140 because the COLB transactions

were not at fair value, which is a requirement to qualify for sale accounting

treatment. Upon reaching these two conclusions, PwC should have withdrawn

from the engagement and admitted to CBG and the Bank that PwC had failed to

follow professional standards in the past and failed to properly apply FAS 140 to

COLB. Simply stated, PwC was no longer independent, within the meaning of the

applicable accounting standards, because it had enormous financial exposure to



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CBG and the Bank for its previous tortious actions and breaches of contract.

Instead of complying with its professional obligations, PwC decided to engage in

deception, create false audit evidence, and mislead CBG, the Bank and its

regulators.

      65.     Instead of telling CBG, the Bank and its regulators that sales

accounting was inappropriate, PwC created out of thin air terms of the COLB

transactions that did not exist and that in fact were expressly negated and rejected

by the written COLB agreement in order to support its previous conclusions. In an

April 12, 2008 e-mail exchange amongst some of the PwC consulting group

discussing the FAS 140 issue, the concept of a seller’s call option that can be “cash

settled” was discussed. The concept of a “call option” arose because as Gaetano

noted”“[t]he transaction must be at fair value, and currently it is difficult to discern

how the purchase is at fair value when the purchase price will never exceed par.”

Later that day, Gaetano e-mailed Colonial and suggested ““[w]hat may have

occurred is that you purchased a loan and wrote an in-the-money call option to the

Seller.” Gaetano continued ““[a] call is generally detrimental to sales accounting,

however, if the option can be settled by the Buyer either by delivering the loan OR

delivering a similar loan OR net settling with cash, then sale accounting is

preserved.” Clearly, PwC was not interested in what the true facts were and was




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instead suggesting some clever accounting trickery that would get around the

problem it found itself in.

      66.    The fundamental problem in this regard is that an auditor needs to

take a transaction as it exists and apply FAS 140 to that transaction. An auditor

should not try to make the transaction fit the requirements of FAS 140. Indeed,

this was specifically recognized by SEC Deputy Chief Accountant Scott A. Taub

in a speech at the 2003 AICPA SEC Conference where he cautioned auditors, “[i]f

you find yourself working on a transaction that has been initiated or deliberately

restructured in order to obtain an accounting result that would not otherwise be

obtained, think very critically about what you’re doing. Often, this structuring is

indicative of a goal using accounting that reflects more positively on the company

than the substance of the transaction warrants. In other words, these transactions

often are set up to frustrate the goal of telling the truth and providing transparent

financial information.”       Despite defying this teaching in its 2008 review of

Colonial’s COLB transactions under FAS 140, PwC subsequently incorporated it

verbatim into its 2013 internal guidance.

      67.     The enormity of PwC’s deception is shown by its own workpapers

for the last six years which repeatedly stated that there was no seller’s call option

in the COLB transactions. Indeed, PwC had previously told the Bank that a

seller’s call option in the COLB agreement would bar FAS 140 sales accounting by



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allowing the supposed seller (such as TBW) to retain control of the mortgage loans

and by imposing a restraint on the Bank’s rights. Morevoer, memoranda drafted

by the Bank after the OCC raised the sales accounting issue and provided to PwC

in April 2008 repeatedly stated that there was no seller’s call option in COLB.

Most importantly, the relevant COLB agreement specifically provided that the

Seller did not have a call option.

      68.    Undeterred by the true facts, PwC pressed forward and requested that

the Bank’s attorneys issue an opinion that the COLB transactions were at fair value

and that Colonial had granted its customers “seller’s call options” that the Bank

could “net settle.” No such opinion was issued. When PwC failed in its attempts

to get the Bank’s attorneys to issue these opinions, it then turned to the Bank’s

customers, a far more vulnerable target, because their very existence depended on

the continuation of COLB. PwC requested the Bank’s COLB customers to provide

the opinions the Bank’s attorneys would not provide. The customers essentially

had no choice but to sign the complex and convoluted “confirmations” or face

having their over lending limits loans called, and their businesses destroyed. PwC

used these confirmations to justify its false representation that sales accounting for

COLB was appropriate. Yet each one of these confirmations from the COLB

customers was flawed on its face because it contained an obvious and significant

misstatement of fact that PwC knew to be untrue. Specifically, the confirmations



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stated that substantially all of the purported seller’s call options had been net

settled in cash when, in fact, few if any had been. This misstatement demonstrated

beyond a doubt that the customer confirmations did not constitute reliable audit

evidence. The fact that PwC did not question the flawed confirmations shows that

the “evidence” being assembled was nothing more than paper aimed at supporting

a pre-determined conclusion. In specific response to the OCC’s inquiry regarding

the appropriateness of sales accounting, it was represented to the OCC as follows

as it relates to FAS 140:

      Colonial purchases participation interests in mortgage loans and the
      related servicing rights at fair value and simultaneously implicitly
      sells, for fair value, a call option to Seller allowing the Seller to
      purchase both the participation interests and the servicing rights
      from Colonial at the initial purchase price. When the Seller notifies
      Colonial of its intent to exercise the call option, Colonial in its sole
      discretion may either net settle the call option in cash (LPSA
      Sections 18A & 18B) or agree to the sale of the Participation
      Interest.


      69.    This false representation regarding sales accounting was made to

CBG, to the Bank, to the Bank’s regulators, and was implicit in and infected the

public filings supporting the CBG capital raise. PwC knew these representations

would be relied upon by CBG, the Bank, and the Bank’s regulators to allow

Colonial to continue to engage in COLB transactions with TBW. In making these

representations, PwC acted wantonly which resulted in the continuation of COLB

transactions with TBW that were not authorized by federal lending limits and

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caused a substantial portion of the losses sought herein. PwC was motivated by its

own economic interests in making these representations and in securing the false

audit evidence that it recklessly and wantonly used to support them.

      70.    PwC’s glowing performance review of Gaetano reflects that PwC

orchestrated the complex ( but false) justification for COLB sales accounting and

that Colonial’s management deferred to PwC: “With respect to Colonial, given the

difficult technical issues, lack of understanding exhibited by executive

management and the short timeline, Frank did not hesitate in taking charge.”

“Frank demonstrated his superior technical capabilities in managing the resolution

of the Colonial matter. He was able to develop technical solutions that ultimately

supported the client’s accounting and financial reporting for the affected

transactions. The Colonial success that Frank orchestrated is a clear example of

his capability to function as a partner of the firm.” (emphasis added).


      71.    Additionally, the deceptive actions of PwC’s consulting group were

ratified at the highest levels of PwC as evidenced by the following:


            In a May 6, 2008 e-mail from Woody Wallace, PwC’s head of
            Risk Management, he states “This could not have happened
            without Frank [Gaetano]. Frank went down to Colonial with no
            notice, rolled his sleeves up, dealt with a hostile client that did
            not get it, an engagement team that was in denial, worked thru
            some very difficult and complex issues and managed to get
            everyone including the client to the right place.”



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            In an April 20, 2008 email from PwC Chairman Samuel
            DiPiazza he notes “To all of you guys—Thanks a great deal for
            going far beyond to make this happen on Friday. An incredible
            professional performance.     I doubt the client will ever
            understand what you guys did to make this happen.”
Such ratification amply demonstrates the wanton nature of PwC’s conduct

and that the wanton conduct reached the highest level at PwC.


      72.   Had COLB transactions properly been recorded as loans instead

of sales for accounting purposes, Colonial would have had to restate several

prior years’ financial statements and likely would have incurred serious

economic consequences – facts of which PwC was certainly aware.

Moreover, Colonial’s legal lending limits to a single borrower would not

have allowed Colonial to continue lending money to TBW after February

2008. Thus, losses attributed to the TBW fraud after February 2008 would

have been avoided if PwC had (a) fulfilled its duty to be independent, (b)

exercised objective professional judgment (without subordinating its

judgment to its client’s wishes), (c) exhibited an appropriate level of

professional skepticism of management’s representations and application of

accounting standards, and (d) evaluated the sales treatment issue properly.


E. Crowe’s Engagement and Failure to Follow Professional Standards

      73.   Pursuant to annually executed engagement letters with CBG, Crowe

agreed to provide internal audit services for Colonial that included (a) meeting

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with management and assisting in developing an annual risk-based internal audit

services plan, (b) assisting the Internal Audit Liaison in determining risks to be

reviewed and recommending testing procedures, (c) assisting in developing control

risk assessments, audit plans, audit programs, and audit reports, (d) developing key

internal controls for significant financial statement accounts and performing tests

to assess the effectiveness of key controls as required by Section 404 of the

Sarbanes-Oxley Act of 2002 (“SOX 404”), (e) reviewing key internal controls for

all significant accounts and performing detail testing of a sample of transactions,

and (f) directing, reviewing, and supervising the day-to-day execution of the

internal audit plan. In particular, the services provided by Crowe included SOX

404 testing of internal controls for all significant accounts identified by Crowe,

which included Colonial’s AOT facility.

      74.   As a member of the AICPA, Crowe was required to comply with the

AICPA Code of Professional Conduct and the AICPA Consulting Standards

(collectively, “AICPA Standards”) with respect to outsourced internal audit

services it provided to CBG and Colonial. These standards required Crowe to (a)

exercise due professional care, which requires a member to plan and supervise

adequately any professional activity for which he or she is responsible, (b)

undertake only those professional services that the member or the member’s firm

can reasonably expect to be completed with professional competence, (c) obtain



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sufficient relevant data to afford a reasonable basis for conclusions or

recommendations in relation to any professional services performed. In addition,

pursuant to the AICPA Consulting Standards, Crowe was obligated to establish

with CBG an understanding about the responsibilities it was undertaking and the

nature, scope, and limitations of services to be performed and to modify that

understanding if circumstances required a significant change during the

engagement.

      75.     In connection with providing internal audit services to CBG and

Colonial, Crowe was obligated to perform risk assessments and make a

determination of risks for Colonial under the terms of its engagement and

applicable professional standards, including the AICPA Standards and The

Institute of Internal Auditors Standards for the Professional Practice of Internal

Auditing (“IIA Standards”). In addition, the Risk Assessments and Internal Audit

Plans that Crowe prepared required Crowe to discuss with management “the risks

of the organization.”    The focus of the risk assessments was to include the

“business changes” and “business profile” of Colonial, and was to “determine the

risks of the organization” and to “customize the annual audit approach to the

particular risks and needs of the organization.”

      76.     Pursuant to the Crowe engagement letter, AICPA Standards, IIA

Standards, and Crowe’s own statements, Crowe was responsible for: (1)



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identifying risks relating to Colonial’s AOT loan pools, (2) informing management

of those risks and the controls needed to address them, (3) recommending internal

audit tests to determine if such controls were in place and effective, (4) making

sure that, if Crowe itself was not performing any such tests, management was so

informed, and (5) ensuring that internal audit tests of Colonial’s AOT loan pools

were adequately performed (whether or not Crowe performed the testing) and the

results communicated to management. In addition, Crowe had to give its overall

assessment of risk in Colonial’s operations and meet the needs of management.

      77.    Colonial’s reported MWLD assets grew to more than $3.3 billion by

year-end 2007 and comprised 13 percent of Colonial’s assets. The rapid growth of

the MWLD increased Colonial’s fraud risks, especially in light of the falling real

estate markets and the collapse of the private secondary market, yet Crowe paid

little attention to the risks and internal controls affecting that division.

      1. Negligent Failure To Understand and Address Risks Affecting AOT
         Loan Pools

      78.    The rapidly increasing AOT account balance was $605.9 million at

the end of 2006 and $1.55 billion at the end of 2007. Although AOT was a

significant part of MWLD’s business and was concentrated in one customer

(TBW), AOT loan pools were excluded entirely from the scope of the internal

audit procedures that Crowe performed. Crowe’s work papers for its internal audit

reports on the MWLD for 2005, 2006, 2007, and 2008 reveal that Crowe failed to

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appreciate that AOTs were different from any other type of transaction within

Colonial. Unlike COLB loans, for example, the details of the individual loans

comprising the mortgage pools (or trades) were not maintained on the Bank’s Pro-

Merit loan-tracking software system.      Thus, internal controls appropriate for

COLB loans were not appropriate for risks arising from AOTs. Crowe failed to

grasp this crucial point.

      79.    None of the MWLD process diagrams in Crowe’s work papers depict

transactions or the flow of funds and collateral relating to Colonial’s AOT

transactions. The complete lack of documentation in Crowe’s work papers for

such a significant and distinct line of Colonial’s business demonstrates that Crowe

failed to evaluate the risks of AOTs and the related controls as part of its overall

assessment of Colonial’s operations and design of internal audit plans in violation

of IIA Standards, including, but not limited to, 1220, 2010, 2110, 2120, 2201, and

AICPA Standards ET 201 and CS 100.

      2. Negligent Failure to Identify Key Controls Relating to AOT

      80.    In conformity with SOX 404 requirements, Crowe prepared a

Financial Statement Internal Controls Map (“Internal Controls Map”), which

identified Colonial accounts for which the risk of financial misstatement could be

significant. The accounts were to be analyzed to identify applicable controls that

would address risks specifically relating to the potential misstatement of the



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corresponding financial statement balance. The control procedures were then to be

“mapped” to the operations of the Bank where controls had been (or should have

been) implemented so that SOX 404 tests of the effectiveness of key controls could

be performed by Crowe.        The Internal Controls Map identified “Securities

purchased under agreement to resell” (an asset reported on CBG’s Balance Sheet

consisting primarily of AOTs) as a significant area for potential misstatement.

Despite Crowe’s recognition of the risk of misstatement as reflected in the Internal

Controls Map, Crowe failed to analyze this “significant” and unique class of

transactions to identify (a) the controls that would address the risk of financial

statement misstatement and (b) each area of the Bank where such controls should

have been implemented. In the 2005, 2006, 2007 and 2008 internal audits, Crowe

failed to identify any key controls specifically relating to AOTs and failed to

perform any SOX 404 tests to determine if appropriate internal controls were in

place and were operating effectively.

      81.   Although Crowe’s internal audit program for Colonial essentially

ignored AOTs, Crowe did identify several risk factors and internal controls for

SOX 404 testing of controls generally for secondary market lending operations.

Those controls would be relevant to Colonial’s AOT facility because AOTs were

sold to investors in the secondary market. The procedures Crowe identified for

secondary market lending operations included confirming trades with end investors



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and conducting appropriate follow-up on unconfirmed trades and confirmation

discrepancies. However, Crowe dismissed these risks and deemed the controls not

to be applicable to Colonial based on the uncorroborated representations of the

head of Colonial’s MWLD. In violation of professional standards, including, but

not limited to, IIA Standards 1220, 2010, 2110, 2120, 2201 and AICPA Standards

ET 201 and CS 100, Crowe performed no analysis of the AOT operation to reach

this conclusion and failed to identify or test the very controls that Crowe

mentioned for transactions involving sales to the secondary market.

       82.    Had Crowe recommended that specific controls were necessary for

Colonial’s AOTs and had Crowe tested controls relating to the confirmation of

AOT trades with end investors, the fraudulent AOTs on Colonial’s books would

have been discovered given that an estimated 40 percent of AOT trades had no end

investors because the trades were fraudulent.

       3. Negligent Failure to Test AOT Loan Collateral

       83.    Crowe’s internal audit program also included procedures to test

mortgage loan collateral by selecting loans from “Pipeline Reports” generated by

Colonial’s ProMerit loan management and database software system and

examining the corresponding collateral packages for each loan selected.5                    As


5
    Pipeline Reports provided loan-level detail for individual mortgage loans securing warehouse
lines of credit and loans in the COLB facility, but they contained no such loan level detail for
AOT loan pools.


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previously noted, the loan monitoring software (from which the Pipeline Reports

were generated) did not track individual loan details for loans in AOT pools.

Rather than perform collateral testing procedures tailored specifically for AOT

loans, such as obtaining the loan-detail information from Colonial and examining

the collateral, assignment of trade agreements, trade confirmations, and other

supporting documents, Crowe excluded AOT loan collateral from these procedures

entirely. As a result, no collateral testing was conducted for the AOT facility that

totaled approximately $1.5 billion at year-end 2007 and related entirely to

mortgages purportedly originated by TBW.

      84.    Having acknowledged the necessity of testing controls for collateral

supporting MWLD loans maintained in the ProMerit loan management system,

Crowe’s failure to conduct reasonably equivalent procedures for loan collateral

relating to AOTs was a critical error that violated professional standards, including,

but not limited to, IIA Standards 1220, 2010, 2110, 2120, 2201 and AICPA

Standards ET 201 and CS 100. Had AOT loan collateral been tested in 2006 or

2007, Crowe would have discovered the TBW fraud because there was no

collateral for an estimated 40 percent of the AOT pools.

      4. Negligent Reconciliation of the AOT Account Balance

      85.    In 2006, Crowe identified $589.8 million of AOTs recorded in a

Colonial account for Reverse Repurchase Agreements.             Crowe purported to



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reconcile this account balance to an unspecified report prepared by the MWLD.

The only report Crowe referenced as support for the balance of the AOTs was a

loan monitoring subsidiary report which provided only a summary entry consisting

of a single line item that gave the total amount of all AOTs financed for TBW.

Because this “report” contained no details of the individual loans or of the separate

loan pools that made up the total AOT balance, by its nature it was not, nor could it

have been considered by a technically proficient internal auditor to have been,

reliable or reasonable support for the balance recorded in the Reverse Repurchase

Agreements account. It provided no information beyond the account balance itself,

and thus Crowe’s reliance on it violated IIA Standards, including, but not limited

to, 1210, 1220 and AICPA Standards ET 201 and CS 100. These were repeat

violations in that Crowe engaged in similar conduct with respect to reconciling the

lead schedule of AOTs in 2005, and Crowe then repeated the same violations in

2007.

        86.   To comply with applicable professional standards requiring sufficient

relevant data to provide a reasonable basis for conclusions regarding risks and

internal controls, Crowe should have requested details for AOT trades, such as the

underlying Trade Assignment Agreements and information concerning the separate

loan pools aggregated into the total AOT balance. Crowe was negligent in failing

to insist upon appropriate documentation to test the reconciliation controls relating



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to this major account balance. Had Crowe performed tests to properly assess the

effectiveness of Colonial’s AOT reconciliation controls, it would have led to the

discovery of the TBW fraud because individual mortgage loans did not exist for an

estimated 40 percent of AOTs.

      5.    Crowe’s Negligent Failure to Assess Risks and Internal Control
            Deficiencies Identified by CBG’s In-House Internal Auditor

      87.    In 2004, Pam Vitto was hired as a full-time Senior Risk Officer

reporting directly to the General Auditor in Montgomery. Her responsibilities

included auditing the MWLD’s controls, including controls over the AOT facility

created for TBW in late 2004.

      88.    Applicable professional standards and the terms of Crowe’s

engagement with CBG imposed a duty on Crowe to evaluate Colonial’s AOT

controls, and Crowe failed to fulfill this obligation. In particular, under AICPA

Standards ET 201 and CS 100, Crowe was required to exercise due professional

care in the performance of professional services, adequately plan and supervise the

performance of professional services, and obtain sufficient relevant data to afford a

basis for any conclusions.      In addition, Crowe was responsible not only for

reviewing Vitto’s internal audit activities, but Crowe should have also considered

the results and findings of her work as part of its assessment of controls needed by

the Bank and advised the CBG Audit Committee of any weaknesses noted by

Vitto. Crowe failed to do this in violation of AICPA consulting standards that

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required Crowe to serve the client’s interest by accomplishing objectives

established through an understanding with the client (for example, AICPA CS

100.07), including the direct review and day-to-day supervision of the audit plan,

as set forth in Crowe’s engagement letter.

      89.      Crowe knew or should have known about any irregularities

questioned by Vitto and the fact that she performed no procedures specific to AOT,

yet Crowe failed to take any action to address these fraud risks, and the Risk

Assessments and Audit Plans prepared by Crowe make no mention of such serious

fraud risks.    Crowe’s failure to assess risks and internal control deficiencies

identified by Vitto was negligent and violated professional standards, including,

but not limited to, IIA Standards 1220, 2010, 2110, 2120, 2201 and AICPA

Standards ET 201 and CS 100. Had Crowe performed appropriate review and

follow-up of Vitto’s concerns, issues concerning Kissick’s circumvention of

Colonial’s internal control procedures would have come to light and the TBW

fraud would have been discovered.

      6. Negligent Failure to Identify and Address the Risks of Aged COLB
         Loans and Loans Shipped Not Paid

      90.      Crowe’s MWLD internal audit plan incorporated various procedures

to test aged loans to ensure that key controls were in place and were operating

effectively.    After performing the procedures in 2006, Crowe found “no

exceptions” worthy of reporting to CBG’s Audit Committee. Yet Crowe’s own

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work papers contradict this conclusion. During the 2006 audit, Crowe discovered

serious internal control issues, including:

      a.     Colonial was improperly parking in a “held for sale” account (i.e., the
             COLB facility) loans that had been rejected by end investors instead
             of putting the loans back to the originator (such as TBW), as it had a
             contractual right to do, and

      b.     Violation notices that were supposed to be sent to end investors for
             loans Colonial had “shipped” but for which Colonial was not paid
             after 60 days were not being sent. Instead of reporting this serious
             issue to management, Crowe simply accepted Kissick’s explanation
             that the notices did not have to be sent within a specific period of time
             frame because, in light of economic pressures, the MWLD was trying
             to accommodate customers that were having difficulties selling loans
             by not imposing strict policies and penalties.

      91.    Aged-loan reports for April 2006 given to Crowe showed $272.7

million of outstanding TBW loans under the then existing COLB facility that were

aged over 120 days, when the loans normally were to have been repaid by TBW or

an end investor within 60 days. Crowe’s own work papers thus establish that

Crowe in fact was aware that there were significant concerns relating to unsold and

aged loans as well as loans sold without payment to Colonial under the then

existing COLB facility. Crowe failed to cite these as exceptions and to question

why Colonial would hold for sale defective loans rather than put them back to

TBW as it had a contractual right to do. These failures violated IIA Standards

1220, 2010, 2110, 2120, 2201, 2400 and AICPA Standards ET 201 and CS 100.

At the very least, Crowe should have reported such significant problems as an



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exception, but it did not do so. Under the then existing COLB facility, Colonial

incurred significant losses from the TBW fraud for loans pledged to multiple

parties that Colonial shipped to investors but for which Colonial was not paid.

       92.     Crowe failed to recognize the significant risks resulting from the

substantial amount of aged TBW loans accumulating in the then existing COLB

facility.    Crowe had evidence that the MWLD was circumventing Colonial’s

internal controls relating to shipped but not paid loans and to TBW’s mortgage

warehouse credit line by not requiring timely payment for shipped loans and

allowing impaired and unmarketable TBW mortgage loans to be warehoused in the

COLB facility as Loans Held for Sale. Crowe was negligent in failing to report to

higher management serious material control weaknesses and steps taken to

override key controls relating to aged COLB loans.         These failures violated

Crowe’s obligations under AICPA Standard CS 100.07 to communicate significant

engagement findings, as well as IIA Standards set forth in Section 2400 requiring

Crowe to “communicate the engagement results promptly.” If Crowe had reported

these violations, the Bank could have invoked its rights under agreements with

TBW and demanded timely payment for shipped loans and the repurchase of the

significantly aged TBW loans in the then existing COLB facility. TBW would not

have been able to comply, the risk of double and triple pledging of loans would




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have arrested, and the defective nature of the aged loans would have been

discovered earlier, reducing Colonial’s losses from the TBW fraud.

      7. Deficient Reports and Erroneous Conclusion That Controls in Place
         in the MWLD Were Adequate

      93.   Given that Colonial’s AOTs were a separate class of MWLD

transactions extended to TBW alone, Crowe was required by applicable

professional standards to obtain an understanding of AOT transactions and related

internal controls as part of its risk assessment and design of an audit plan that

would enable CBG management to comply with its SOX 404 requirements.

Furthermore, if Crowe understood that these or any other transactions were not

within the scope of its MWLD Internal Audit, applicable professional standards

such as IIA Standard 2020 and AICPA Standard CS 100.07 required Crowe to

communicate that understanding to CBG management to avoid any confusion or

erroneous belief that Crowe would test such transactions and controls. In addition,

Crowe also was required to communicate the serious risks and violations of

internal controls relating to the aged COLB loans and loans shipped not paid.

      94.   Crowe’s 2005, 2006, 2007 and 2008 Internal Audit Reports for

Colonial’s MWLD and Treasury operations failed to communicate any risks or

control issues regarding AOT and ignored the risks that Crowe had discovered

relating to aged COLB loans and loans shipped not paid. Similarly, Crowe’s Risk

Assessment and Internal Audit Plans for 2005, 2006, 2007 and 2008 also made no

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mention of specific risks or controls relating to Colonial’s AOTs. Nor did they

discuss any particular audit plan or audit procedures to address risks of which

Crowe was or should have been aware, including (1) significantly aged loans in the

then existing COLB facility, (2) loans shipped not paid for extended periods of

time, (3) concerns regarding irregularities in loan aging reports, or (4) evidence

indicating loan resetting on AOT pools. Had Crowe properly evaluated and tested

the risks and controls relating to AOTs and reported the internal control

deficiencies that it did observe (and others it should have observed), the fraudulent

loans and loan pools would have been discovered no later than December 31, 2005.

F.    The FDIC’s Claims Against Crowe Are Timely.

      95.    The FDIC and Crowe entered into a Tolling Agreement effective

August 9, 2012, pursuant to which the FDIC and Crowe expressly agreed to toll

and suspend all timing defenses and statutes of limitations. Under this Tolling

Agreement, the time period beginning on the Effective Date of August 9, 2012,

and ending on October 10, 2012 (the “Termination Date”) was defined as the

“Tolling Period.” The Termination Date was later extended from October 10,

2012, to October 31, 2012, under an “Extension of Tolling Agreement” executed

on August 31, 2012, thereby also extending the Tolling Period to October 31,

2012. The Tolling Agreement and the Extension to the Tolling Agreement entered




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into between the FDIC and Crowe shall be referred to collectively as the “Crowe

Tolling Agreement.”


      96.    Pursuant to the Crowe Tolling Agreement, the FDIC and Crowe

agreed that “[a]ny and all statutes of limitation or repose that would have otherwise

expired or lapsed at any time during [the Tolling Period] shall be tolled, suspended,

and not expire or lapse until after the Termination Date.” In addition, the FDIC

and Crowe agreed that “[a]ll claims, defenses, cross-claims, or counterclaims that

either Party could have asserted against the other Party at any time on or before the

Effective Date shall be preserved without any prejudice during the Tolling Period.”

      97.    The FDIC was appointed Receiver of Colonial on August 14, 2009.

Because the Effective Date of the Tolling Agreement was August 9, 2012, and

Crowe agreed and promised under the Tolling Agreement that for the time between

August 9, 2012, and October 31, 2012 (the Tolling Period), any and all statutes of

limitations or repose that would have otherwise expired or lapsed at any time

during the Tolling Period were tolled, suspended, and would not expire or lapse;

and, because the FDIC and Crowe agreed separately and affirmatively that all

claims, defenses, cross-claims, or counterclaims between them shall be preserved

without any prejudice during the Tolling Period, the FDIC’s October 31, 2012,

filing of its claims against Crowe in this lawsuit was timely. The Crowe Tolling

Agreement is an enforceable agreement, the FDIC complied with it in filing its


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claims in this lawsuit against Crowe when it did, and the FDIC’s claims asserted in

this lawsuit against Crowe are timely.

      98.   In addition to the agreement to toll and suspend any and all statutes of

limitations or repose, the FDIC and Crowe separately agreed and promised that the

Tolling Period (August 9, 2012, through October 31, 2012) was not be included in

any calculation of time for “any timing defense…and any defense related to, or

predicated upon, the passage of time, including, without limitation, the defense of

laches,” in response to the claims asserted by the FDIC against Crowe in this

lawsuit. This is so because the FDIC and Crowe defined the term “Statute of

Limitations” in the Tolling Agreement to include “any timing defense, and any

statutory, common law, equitable, or contractual time period of limitations or

repose of claims and any defense related to, or predicated upon, the passage of

time, including, without limitation, the defense of laches, with respect to the FDIC

Claims and/or any claims or counterclaims that Crowe might have against the

FDIC.” Crowe, therefore, is prohibited by this separate promise and agreement

from raising any defense to the claims asserted by the FDIC in this lawsuit, which

includes the time period contained within the Tolling Period.     Any defense that

may be asserted by Crowe to the timeliness of the FDIC’s filing of its claims

against Crowe in this lawsuit predicated upon the time included in the Tolling

Period is completely without merit.



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      99.    Moreover, Paragraph 11 of the Crowe Tolling Agreement states

“[Crowe] stipulates, agrees, and warrants to the [FDIC] . . . that it will not

challenge or in any way contest the capacity of either [Crowe or the FDIC] to make

agreements, covenants, stipulations and warranties herein set forth.”        Crowe

expressly agreed not to challenge the FDIC’s authority to enter into the tolling

agreement, and the argument that the tolling agreement is unenforceable under the

extender statute violates this representation and warranty.

      100. In addition, or in the alternative, Crowe is equitably estopped from

asserting any timing defense of limitations or the like to the FDIC’s claims. Crowe

and the FDIC negotiated and executed the Crowe Tolling Agreement prior to the

expiration of any applicable statute of limitations or repose for the purpose of

engaging in and continuing pre-suit settlement negotiations. The Crowe Tolling

Agreement is limited in scope (which the parties agreed was reasonable), it was

executed between two parties of equal bargaining strength, and its purpose was to

facilitate a strong public policy of encouraging settlements. Further, the FDIC

reasonably relied upon the promises and agreements made by Crowe in continuing

settlement negotiations rather than breaking off negotiations and filing suit during

the Tolling Period. Indeed, the Crowe Tolling Agreement specifically states that

“the Parties have indicated a desire to continue the discussions during the Tolling

Period (as defined below) regarding whether the FDIC Claims . . . should be



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brought or otherwise resolved; . . .”   The FDIC also agreed not to file its claims

prior to October 24, 2012.     Finally, the FDIC agreed not to seek to take any

administrative actions against Crowe (including, without limitation, the initiation

or enforcement of administrative discovery) or seek to impose any new obligations

during the Tolling Period.

      101. The FDIC honored all of these provisions of the Crowe Tolling

Agreement. As a result, the parties were afforded the opportunity to continue

discussions concerning a potential settlement of the FDIC’s claims during the

Tolling Period prior to the FDIC’s filing of suit, the stated purpose of the Crowe

Tolling Agreement. And, the FDIC refrained from filing suit against Crowe before

October 24, 2012, as promised in the Tolling Agreement. Finally, the FDIC did not

seek to take any administrative actions against Crowe during the Tolling Period.

The FDIC reasonably relied upon the agreements and promises made by Crowe in

the Crowe Tolling Agreement, which constitute an affirmative inducement to the

FDIC to delay bringing its claims against Crowe. An injustice will result from

allowing Crowe to assert any timing defense predicated upon the Tolling Period

agreed upon and provided in the Crowe Tolling Agreement.           Therefore, and

notwithstanding the enforceability of the Crowe Tolling Agreement with respect to

the parties’ agreement to toll and suspend any and all statutes of limitations or

repose during the Tolling Period and Crowe’s agreement not to challenge the



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authority of the FDIC to enter into the Crowe Tolling Agreement, Crowe is

equitably estopped from including the time included in the Tolling Period (August

9, 2012, to October 31, 2012) in any defense related to, or predicated upon, the

passage of time.

      102. In addition, or in the alternative, Crowe has waived any time-related

defense of limitations or the like to the FDIC’s claims dependent upon the

inclusion of the timeframe agreed by the parties to comprise the Tolling Period in

the Crowe Tolling Agreement. Crowe freely and intentionally agreed to relinquish

any such defense in the Crowe Tolling Agreement, which Crowe cannot dispute

was known to it at the time it executed the Crowe Tolling Agreement, for the

period of time tolled under it in the Tolling Period. Therefore, and notwithstanding

the enforceability of the Crowe Tolling Agreement with respect to the parties’

agreement to toll and suspend any and all statues of limitations or repose during

the Tolling Period, Crowe has waived any right it otherwise may have had to

include the time defined as the Tolling Period (August 9, 2012, to October 31,

2012) in any defense related to, or predicated upon, the passage of time.

G.    The FDIC’s Claims Asserted Against PwC are Timely.

      103. The FDIC and PwC entered into a Tolling Agreement effective

August 9, 2012, pursuant to which the FDIC and PwC expressly agreed to toll and

suspend all timing defenses and statutes of limitations.        Under this Tolling



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Agreement, the time period beginning on the Effective Date of August 9, 2012,

and ending on October 10, 2012 (the “Termination Date”) was defined as the

“Tolling Period.” The Termination Date was later extended from October 10,

2012, to October 31, 2012, under an “Extension of Tolling Agreement” executed

on August 31, 2012, thereby also extending the Tolling Period to October 31,

2012. The Tolling Agreement and the Extension to the Tolling Agreement entered

into between the FDIC and PwC shall be referred to collectively as the “PwC

Tolling Agreement.”

      104. Pursuant to the PwC Tolling Agreement, the FDIC and PwC agreed

that “[a]ny and all statutes of limitations or repose with respect to, arising out of or

in any way connected with the FDIC Claims that would have otherwise expired or

lapsed at any time during [the Tolling Period] shall be tolled, suspended, and not

expire or lapse until after the Termination Date.” In addition, the FDIC and PwC

agreed that “[a]ll claims, defenses, cross-claims, or counterclaims with respect to,

arising out of or in any way connected with the FDIC Claims that either Party

could have asserted against the other Party at any time on or before the Effective

Date shall be preserved without any prejudice during the Tolling Period.”

      105. The FDIC was appointed Receiver of Colonial Bank on August 14,

2009. Because the Effective Date of the Tolling Agreement was August 9, 2012,

and PwC agreed and promised under the Tolling Agreement that for the time



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between August 9, 2012, and October 31, 2012 (the Tolling Period), any and all

statutes of limitations or repose that would have otherwise expired or lapsed at any

time during the Tolling Period were tolled, suspended, and would not expire or

lapse; and, because the FDIC and PwC agreed separately and affirmatively that all

claims, defenses, cross-claims, or counterclaims between them shall be preserved

without any prejudice during the Tolling Period, the FDIC’s October 31, 2012,

filing of its claims against PwC in this lawsuit was timely. The PwC Tolling

Agreement is an enforceable agreement, the FDIC complied with it in filing its

claims in this lawsuit against PwC when it did, and the FDIC’s claims asserted in

this lawsuit against PwC are timely.

      106. In addition to the agreement to toll and suspend any and all statutes of

limitations or repose, the FDIC and PwC separately agreed and promised that the

Tolling Period (August 9, 2012, through October 31, 2012) was not be included in

any calculation of time for “any timing defense…and any defense related to, or

predicated upon, the passage of time, including, without limitation, the defense of

laches,” in response to the claims asserted by the FDIC against PwC in this

lawsuit. This is so because the FDIC and PwC defined the term “Statute of

Limitations” in the PwC Tolling Agreement to include “any timing defense, and

any statutory, common law, equitable, or contractual time period of limitations or

repose of claims and any defense related to, or predicated upon, the passage of



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time, including, without limitation, the defense of laches, for any purported claims

pertaining to any activities or PwC in connection with Colonial.” PwC, therefore,

is prohibited by this separate promise and agreement from raising any defense to

the claims asserted by the FDIC in this lawsuit, which includes the time period

contained within the Tolling Period. Any defense that may be asserted by PwC to

the timeliness of the FDIC’s filing of its claims against PwC in this lawsuit

predicated upon the time included in the Tolling Period is completely without

merit.

         107. Moreover, Paragraph 11 of the PwC Tolling Agreement states “[PwC]

stipulates, agrees, and warrants to the [FDIC] . . . that it will not challenge or in

any way contest the capacity of either [PwC or the FDIC] to make agreements,

covenants, stipulations and warranties herein set forth.” PwC expressly agreed not

to challenge the FDIC’s authority to enter into the tolling agreement, and the

argument that the tolling agreement is unenforceable under the extender statute

violates this representation and warranty.

         108. In addition, or in the alternative, PwC is equitably estopped from

asserting any timing defense of limitations or the like to the FDIC’s claims. PwC

and the FDIC negotiated and executed the PwC Tolling Agreement prior to the

expiration of any applicable statute of limitations or repose for the purpose of

engaging in and continuing pre-suit settlement negotiations. The PwC Tolling



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Agreement is limited in scope (which the parties agreed was reasonable), it was

executed between two parties of equal bargaining strength, and its purpose was to

facilitate a strong public policy of encouraging settlements. Further, the FDIC

reasonably relied upon the promises and agreements made by PwC in continuing

settlement negotiations rather than breaking off negotiations and filing suit within

the Tolling Period. Indeed, the FDIC attended a pre-suit mediation session with

PwC concerning the FDIC’s claims on October 18, 2012, at a time that fell

squarely within the Tolling Period. In the PwC Tolling Agreement, the FDIC also

agreed not to file its claims prior to October 24, 2012.

      109. The FDIC honored all of these provisions of the PwC Tolling

Agreement. As a result, the parties were able to continue discussions concerning a

potential settlement of the FDIC’s claims, up to and including the October 18,

2012 mediation prior to the FDIC’s filing of suit, the stated purpose of the PwC

Tolling Agreement. And, the FDIC refrained from filing suit against PwC before

October 24, 2012, as promised in the PwC Tolling Agreement. The FDIC

reasonably relied upon the agreements and promises made by PwC in the PwC

Tolling Agreement, which constitute an affirmative inducement to the FDIC to

delay bringing its claims against PwC. An injustice will result from allowing PwC

to assert any timing defense predicated upon the Tolling Period agreed upon and

provided in the PwC Tolling Agreement. Therefore, and notwithstanding the



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enforceability of the PwC Tolling Agreement with respect to the parties’

agreement to toll and suspend any and all statutes of limitations or repose during

the Tolling Period and PwC’s agreement not to challenge the authority of the FDIC

to enter into the PwC Tolling Agreement, PwC is equitably estopped from

including the time included in the Tolling Period (August 9, 2012, to October 31,

2012) in any defense related to, or predicated upon, the passage of time.

      110. In addition, or in the alternative, PwC has waived any time-related

defense of limitations or the like to the FDIC’s claims dependent upon the

inclusion of the timeframe agreed by the parties to comprise the Tolling Period in

the PwC Tolling Agreement. PwC freely and intentionally agreed to relinquish

any such defense in the PwC Tolling Agreement, which PwC cannot dispute was

known to it at the time it executed the PwC Tolling Agreement, for the time period

tolled under it in the Tolling Period.        Therefore, and notwithstanding the

enforceability of the PwC Tolling Agreement with respect to the parties’

agreement to toll and suspend any and all statues of limitations or repose during

the Tolling Period, PwC has waived any right it otherwise may have had to include

the time defined as the Tolling Period (August 9, 2012, to October 31, 2012) in any

defense related to, or predicated upon, the passage of time.

H.    The Discovery Rule Applies to Claims Against PwC and Crowe.




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      111. Colonial did not discover, and should not have discovered, that PwC’s

and Crowe’s audit work was deficient, including PwC’s sales accounting work,

and that its audit opinions were erroneous and not based on sufficient and

competent audit evidence until the underlying fraud came to light in August 2009.

                             IV. CLAIMS FOR RELIEF

                                     Count I
                             Professional Negligence
                                 (Against PwC)

      112. The FDIC incorporates paragraphs 1-111 into this claim for relief.

      113. PwC owed Colonial a duty to perform its audits and professional

services in accordance with applicable professional standards. As alleged more

fully herein, PwC breached its duty in at least the following ways, among others:

   a. failing to obtain a sufficient understanding of Colonial’s mortgage
      warehouse lending line of business to properly plan the audit and design
      effective audit procedures to address specific risks of material misstatement
      due to fraud, reduce audit risk to an acceptably low level, and obtain
      sufficient competent evidential matter to support its audit opinion;

   b. failing to consider the significant increase in fraud risks relating to
      Colonial’s mortgage warehouse lending line of business caused by the
      financial and economic crisis in the U.S. that was adversely impacting
      liquidity in the mortgage markets;

   c. approving and advocating for sales treatment accounting for loans in the
      MWLD COLB facility when accounting standards required that such loan
      “purchases” be treated as a financing transaction (i.e. loans to Colonial’s
      mortgage banking customers that utilized the COLB facility instead of
      Colonial loans held for sale);




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d. fabricating evidence for, and ultimately approving a false accounting
   narrative under FAS 140 aimed at achieving a desired accounting conclusion
   that was contrary to existing evidence so that Colonial could appear to be in
   compliance with federal loan-to-one-borrower regulations and PwC could
   avoid the consequences of disclosing that its conclusions in prior years were
   erroneous;

e. failing to count or verify the collateral securing loan pools in the AOT
   facility;

f. failing to investigate why Colonial was holding a significant volume of stale
   loans purchased from TBW rather than requiring TBW to repurchase the
   loans;

g. failing to employ appropriate audit procedures for Colonial’s AOT account;

h. failing to identify reportable conditions and material weaknesses in CBG’s
   internal control over financial reporting, particularly with respect to the
   manner in which Colonial’s Treasury area maintained control over AOT
   collateral and reconciled the balance of AOTs recorded as Securities
   Purchased Under Agreements to Resell;

i. failing to recognize that the scope of work performed by Crowe was not
   sufficient to meet the requirements of SOX 404 and, in particular, did not
   adequately address key controls in the Treasury area relating to maintaining
   control over AOT collateral and reconciling the balance of AOTs recorded
   as Securities Purchased Under Agreements to Resell;

j. failing to require sufficiently persuasive evidence to support its conclusions
   and Colonial management’s material accounting estimates and
   representations;

k. failing to investigate a material discrepancy in TBW’s confirmation
   response;

l. failing to design more effective and robust audit procedures in response to
   inconsistencies observed during its audit;




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   m. failing to corroborate management’s explanations and representations
      concerning material matters, in spite of the fact that certain of these
      representations were patently unreasonable on their face.

      114. Each of PwC’s cited failures above violated one or more of the

following applicable professional standards:

   • AU 210 – Training and Proficiency of the Independent Auditor

   • AU 220 – Independence

   • AU 230 – Due Professional Care in the Performance of Work

   • AU 311 – Planning and Supervision

   • AU 312 – Audit Risk and Materiality in Conducting an Audit

   • AU 316 – Consideration of Fraud in a Financial Statement Audit

   • AU 317 – Illegal Acts by Clients

   • AU 322 – The Auditor’s Consideration of the Internal Audit Function in an
              Audit of Financial Statements

   • AU 325 – Communication of Internal Control Related Matters Noted in an
              Audit

   • AU 326 – Evidential Matter

   • AU 328 – Auditing Fair Value Measurements and Disclosures

   • AU 330 – The Confirmation Process

   • AU 332 – Auditing Derivative Instruments, Hedging Activities, and
              Investment Securities

   • AU 333 – Management Representations



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   • AU 336 – Using the Work of a Specialist

   • AU 342 – Auditing Accounting Estimates

   • AU 350 – Audit Sampling

   • AU 380 – Communications With Audit Committee

   • AU 410 - Adherence to Generally Accepted Accounting Principles

   • AU 411 – The Meaning of Present Fairly in Conformity With Generally
              Accepted Accounting Principles

   • AU 508 – Reports on Audited Financial Statements

   • AU 560 – Subsequent Events

   • AU 561 – Subsequent Discovery of Facts Existing at the Date of the
              Auditor’s Report

   • AU 722 – Interim Financial Reporting

   • AS No. 3 – Audit Documentation

   • AS No. 5 – An Audit of Internal Control Over Financial Reporting That is
                Integrated with an Audit of Financial Statements

      115. In addition, the following violations of applicable professional

standards and SEC Rules governing Auditor Independence occurred as a result of

the improper sales accounting identified in subparagraphs c and d above:

   • AICPA Code of Professional Conduct: ET § 52 Article I – Responsibilities,
     ET § 53 Article II – The Public Interest, ET § 54 Article III – Integrity, ET §
     55 Article IV – Objectivity and Independence, ET § 56 Article V – Due
     Care, ET § 201 General Standards, ET § 202 Compliance With Standards,
     ET § 203 Accounting Principles, ET § 501 Acts Discreditable



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   • PCAOB Rule 3502 – Responsibility Not to Knowingly or Recklessly
     Contribute to Violations, Rule 3520 Auditor Independence

   • Rule 2-01 of Regulation S-X Under the Securities and Exchange Act of
     1934.

      116. PwC’s work violated governing professional standards in many

significant ways, and thus it missed several opportunities to identify one or more

aspects of the TBW fraud.

      117. Had PwC complied with applicable professional standards, it would

have detected the TBW fraud several years before it was ultimately uncovered. It

would have been required to promptly communicate such fraud to Colonial and

CBG, which disclosure would have prompted immediate action by Colonial to

terminate its relationship with TBW, thus avoiding or significantly reducing the

losses that Colonial sustained.     Specifically, the losses Colonial sustained by

continuing to advance money to TBW in return for nothing of value would have

ceased had PwC performed its audits in accordance with professional standards

and reported the resulting findings to Colonial.

      118. As a direct and proximate result of PwC’s negligence, Colonial

sustained significant damages in an amount to be proven at trial, but currently

estimated to exceed $2.2 billion.

                                     Count II
                              Professional Negligence
                                 (Against Crowe)



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      119. The FDIC incorporates paragraphs 1-118 into this claim for relief.

      120. Crowe owed Colonial a duty to perform its audits and professional

services in accordance with applicable professional standards. As alleged more

fully herein, Crowe breached its duty in at least the following ways, among others:

   a. failing to understand and address risks affecting AOT loan pools;

   b. failing to identify any key controls relating to AOT;

   c. failing to test AOT loan collateral;

   d. failing to properly reconcile the AOT account balance;

   e. failing to assess risks and internal control deficiencies identified by Pam
      Vitto;

   f. failing to identify and address the risks of aged COLB loans and loans
      shipped not paid;

   g. erroneously concluding and reporting that internal controls in Colonial’s
      MWLD and Treasury area were adequate;

   h. failing to communicate to management its alleged belief that certain work
      critical to an accurate assessment of CBG’s internal controls was not within
      the scope of its work;

      121. Each of Crowe’s cited failures above violated one or more of the

following applicable professional standards:

   • AICPA Code of Professional Conduct: ET § 56 Article V – Due Care, ET §
     201 General Standards

   • AICPA Consulting Standards CS 100 Consulting Services: Definitions and
     Standards

   • IIA Standards 1210 – Proficiency


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   • IIA Standards 1220 – Due Professional Care

   • IIA Standards 2010 – Planning

   • IIA Standards 2020 – Communication and Approval

   • IIA Standards 2110 - Risk Management

   • IIA Standards 2201 – Planning Considerations

   • IIA Standards 2210 – Engagement Objectives

   • IIA Standards 2220 – Engagement Scope

   • IIA Standards 2340 – Engagement Supervision

   • IIA Standards 2400 – Communicating Results

   • IIA Standards 2420 – Quality of Communications
      122. Crowe’s work violated governing professional standards in many

significant ways, and thus it missed several opportunities to identify one or more

aspects of the TBW fraud.

      123. Had Crowe complied with applicable professional standards, it would

have detected the TBW fraud several years before it was ultimately uncovered. It

would have been required to promptly communicate such fraud to Colonial and

CBG which disclosure would have prompted immediate action by Colonial to

terminate its relationship with TBW, thus avoiding or significantly reducing the

losses that Colonial sustained.   Specifically, the losses Colonial sustained by

continuing to advance money to TBW in return for nothing of value would have




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ceased had Crowe performed its internal audit work in accordance with

professional standards and reported the resulting findings to Colonial.

      124. As a direct and proximate result of Crowe’s negligence, Colonial

sustained significant damages in an amount to be proven at trial, but currently

estimated to exceed $2.2 billion.

                                     Count III
                                 Gross Negligence
                              (Against PwC and Crowe)

      125. The FDIC incorporates paragraphs 1-124 into this claim for relief.

      126. PwC’s misconduct alleged herein was reckless and constituted such

an extreme departure from professional standards as to constitute gross negligence.

Crowe’s misconduct alleged herein was reckless and constituted such an extreme

departure from professional standards as to constitute gross negligence.

      127. As a direct and proximate result of PwC’s and Crowe’s gross

negligence, Colonial sustained significant damages in an amount to be proven at

trial, but currently estimated to exceed $2.2 billion.

                                    Count IV
                         Breach of Contract-Audit Services
                                  (Against PwC)

      128. The FDIC incorporates paragraphs 1-127 into this claim for relief.

      129. PwC entered into engagement agreements with Colonial’s parent

company, CBG, under which it committed to conduct its audits in accordance with



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governing professional standards. As noted above, upon information and belief,

PwC knew (a) that its audits of CBG’s consolidated financial statements served as

Colonial’s required audits under 12 U.S.C. § 1831m, and that Colonial’s primary

banking regulators relied on it for that purpose, and (b) that CBG intended to

deliver PwC’s audit reports to Colonial and that Colonial would rely on it.

Colonial was thus a known and intended third party beneficiary of CBG’s

agreements with PwC.

      130. As detailed above, PwC was obligated under its engagement letters to

(a) perform its audits in accordance with standards established by the PCAOB, (b)

design the audits to obtain reasonable assurance of detecting errors, fraud, or

illegality that would have a material impact on financial statement amounts, and (c)

obtain reasonable assurance that effective internal control over financial reporting

was maintained in all material respects, which required PwC to obtain an

understanding of internal controls over financial reporting, assess the risk that a

material weakness existed, and test and evaluate the design and effectiveness of

internal controls over financial reporting. PwC failed to comply with these

contractual duties and related professional standards in numerous material respects

and thus breached the obligations of the engagement agreements.




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       131. PwC’s breach of contract proximately caused significant damage to

Colonial in an amount to be proven at trial, but currently estimated to exceed $2.2

billion.

       132. Upon information and belief, CBG performed, or substantially

performed, its material obligations under the engagement letters.

                                     Count V
                            Negligent Misrepresentation
                                  (Against PwC)

       133. The FDIC incorporates paragraphs 1-132 into this claim for relief.

       134. As detailed above, PwC’s 2002 through 2008 audit opinions

negligently misrepresented that CBG’s financial statements were fairly stated in all

material respects and that effective internal controls over financial reporting were

in place when, in reality, the financial statements were grossly misstated, and the

internal controls were deficient.

       135. For the reasons set forth above, PwC’s misrepresentations were

negligent and grossly negligent. Colonial was a known and intended recipient and

user of PwC’s audit opinions, and PwC knew that Colonial would rely on its

opinions. In justifiable reliance on PwC’s opinions, Colonial was deprived of the

opportunity to take steps that it would have taken to mitigate losses if PwC’s

opinions had been accurate and prepared in conformity with applicable

professional standards. PwC’s negligent and grossly negligent misrepresentations



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proximately caused significant damage to Colonial in an amount to be proven at

trial, but currently estimated to exceed $2.2 billion.

                                    Count VI
                            Negligent Misrepresentation
                                 (Against Crowe)

      136. The FDIC incorporates paragraphs 1-135 into this claim for relief.

      137. As detailed above, Crowe’s 2005, 2006, 2007 and 2008 internal audit

reports negligently misrepresented that it had evaluated internal controls over

mortgage warehouse lending, and that there were “no findings.” In fact, Crowe did

nothing to evaluate controls over AOTs – a significant component of Colonial’s

mortgage warehouse lending. Accordingly, Crowe’s report of “no findings” gave

the false impression that MWLD controls – including controls over AOTs – were

in place and functioning effectively.          Moreover, Crowe discovered that (a)

Colonial was improperly parking in a “held for sale” account loans that had been

rejected by end investors, (b) violation notices were not being sent to end investors

that had not paid for loans that Colonial had shipped, and (c) $272.74 million of

TBW loans were aged over 120 days when they should have been sold to an end

investor within 60 days. Crowe’s representation of “no findings” with respect to

the MWLD was false.

      138. For the reasons set forth above, Crowe’s misrepresentations were

negligent and grossly negligent. Colonial was a known and intended recipient and



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user of Crowe’s reports, and Crowe knew that Colonial would rely on its reports.

In justifiable reliance on Crowe’s reports, Colonial was deprived of the opportunity

to take steps that it would have taken to mitigate losses if Crowe’s reports had been

accurate and prepared in conformity with applicable professional standards.

Crowe’s negligent and grossly negligent misrepresentations proximately caused

significant damage to Colonial in an amount to be proven at trial, but currently

estimated to exceed $2.2 billion.

                                      Count VII
                                     Wantonness
                                    (Against PwC)

      139. The FDIC incorporates paragraphs 1-138 into this claim for relief.

      140. PwC acted wantonly in the spring of 2008 when, in an effort to hide

its prior negligence, it (a) suggested that Colonial management recognize an

implied call option so that the COLB transactions could be accounted for as sales

despite knowing that a call option did not exist and that the COLB transactions

were in fact loans under FAS 140 and (b) encouraged management to solicit and

fabricate evidence for this knowingly false narrative. In taking these actions, PwC

placed its own economic interests above the interests of Colonial. PwC took these

actions consciously and deliberately, and with reckless disregard of the rights of

Colonial. In taking these actions, PwC acted with the knowledge that harm would

likely or probably result.     That likely or probable harm consisted of the



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continuation by Colonial of COLB transactions with TBW, which were not

authorized by federal lending limits and caused extensive additional losses to

Colonial. PwC’s wanton actions proximately caused significant damage to

Colonial in an amount to be proven at trial but currently estimated to exceed $1

billion, which is a subset of the damages sought herein. Because PwC’s actions

were wanton, the FDIC is also entitled to an award of punitive damages.

                                 Count VIII
                     Breach of Contract-Tolling Agreement
                               (Against Crowe)

      141. The FDIC incorporates paragraphs 1-140 into this claim for relief.

      142. The FDIC has a valid contract binding the FDIC and Crowe in the

Crowe Tolling Agreement.     The Crowe Tolling Agreement specifically provides

that it was agreed to by the Parties in order to allow them the opportunity to

continue discussions during the Tolling Period regarding whether the FDIC Claims

(and/or any claims or counterclaims that Crowe might have against the FDIC)

should be brought or otherwise resolved.        The FDIC performed under this

contract by, among other things, (a) not filing suit against Crowe during the time

agreed to in the Crowe Tolling Agreement, and (b) not seeking to take any

administrative actions against Crowe or imposing any new obligations against

Crowe during the Tolling Period. Crowe failed to perform under and/or breached

the Crowe Tolling Agreement by pleading a timing defense and/or timing defenses



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that expressly or implicitly include the Tolling Period under the Crowe Tolling

Agreement.

      143. As a result of Crowe’s failure to perform and breach of the Crowe

Tolling Agreement, the FDIC has been damaged in an amount to be proven at trial,

which includes, without limitation, the FDIC’s expenses and attorneys’ fees

incurred in having to respond to Crowe’s assertion of its timing defense(s) relating

to the time defined as the Tolling Period in the Crowe Tolling Agreement. In

addition, or in the alternative, the FDIC seeks Crowe’s specific performance under

the Crowe Tolling Agreement by not asserting any timing defense(s) in response to

the FDIC’s claims that include(s) the Tolling Period that Crowe agreed to in the

Crowe Tolling Agreement.

                                   Count IX
                      Breach of Contract-Tolling Agreement
                                 (Against PwC)

      144. The FDIC incorporates paragraphs 1-143 into this claim for relief.

      145. The FDIC has a valid contract binding the FDIC and PwC in the PwC

Tolling Agreement. The FDIC performed under this contract by, among other

things, (a) continuing settlement negotiations with PwC during the time period

tolled under the PwC Tolling Agreement, including, without limitation, attending

the October 18, 2012, mediation session; and (b) not filing suit against PwC during

the time agreed to in the PwC Tolling Agreement. While PwC has, to date, not



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filed any motion or asserted a defense specifically including the time included in

the Tolling Period in the PwC Tolling Agreement as a bar to the claims asserted by

the FDIC against PwC, PwC has, generally, asserted defenses based upon the

statute of limitations and laches. In the event that PwC relies upon the time

included in the Tolling Period in support of any timing defense as a bar to the

FDIC’s claims asserted herein, then PwC is in breach of the PwC Tolling

Agreement.

      146. To the extent that the timing defense asserted by PwC includes the

time defined as the Tolling Period in the PwC Tolling Agreement, the FDIC will

be damaged in an amount to be proven at trial. The FDIC’s damages will include,

without limitation, the FDIC’s expenses and attorneys’ fees incurred in having to

respond to PwC’s assertion of its timing defense(s) relating to the time defined as

the Tolling Period in the PwC Tolling Agreement.           In addition, or in the

alternative, the FDIC seeks PwC’s specific performance under the PwC Tolling

Agreement by not asserting any timing defense(s) in response to the FDIC’s claims

that include(s) the Tolling Period that PwC agreed to in the PwC Tolling

Agreement.

                             V. PRAYER FOR RELIEF

      For these reasons, the FDIC requests that the Court award the FDIC

judgment against PwC and Crowe for:



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         a.     actual damages in an amount to be proven at trial;

         b.     prejudgment and post judgment interest as allowed by law;

         c.     punitive damages against PwC based on its wanton conduct;

         d.     costs of court;

         e.     return of any and all fees paid that Colonial paid to PwC and
                Crowe for the negligent audits;

         f.     attorneys’ fees and expenses;

         g.     specific performance not to assert any timing defense(s) in
                response to the FDIC’s claims that include(s) the Tolling Period
                that PwC and Crowe agreed to in the respective tolling agreements;
                and

         h.     any other relief allowed by law and deemed appropriate by the
                Court.

                                  VI. JURY DEMAND

      Plaintiff demands a jury trial in this matter.

Respectfully submitted this 10th day of February, 2016.

                                        Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the

foregoing document was electronically served on February 10, 2016, by

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